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   District Civil Court, Mesa County, Colorado

   Court Address: 125 North Spruce
   P.O. Box 20,000-5030
   Grand Junction, CO 81502

   Plaintiff(s): Alyssa Chrystie Montalbano
   v.
                                                                                              COURT USE ONLY
   Defendant(s): James Corey Goode
   Attorney or Party Without Attorney (Name and Address):
   2536 Rimrock Ave                                                                Case Number: 18CV50
   Suite 400-117
   Grand Junction, Colorado 81505

   Phone Number: 970.250.8365                     E-mail:                          Division     10    Courtroom 10

        AMENDED & SUPPLEMENTAL COMPLAINT UNDER SIMPLIFIED CIVIL PROCEDURE


   1. James Corey Goode , defendant(s), is (are) resident(s) of             Broomfield          County, with a post
        office address of      1140 US Highway 287, Suite 400-266                Street, City Broomfield , State of
        Colorado


   2. The amount claimed from James Corey Goode, defendant(s), is/are approximately Seventy
        Thousand dollars and Zero cents ($ 70,000 ) together with proper interest, costs and any other items
        allocable by statute or specific agreement. Additional damages, loss of income, loss of opportunity,
        and non-economic and punitive damages are being sought “according to proof.”


   3. Jurisdiction and Venue are proper in Mesa County because Plaintiff is a resident of Mesa County,
        Colorado, the Defendant, James Corey Goode, is a resident of Broomfield County and the unlawful
        acts giving rise to Plaintiff’s claims took place in Mesa County.


   4. Such claim arises from the following event(s) or transaction(s):
        Defendant presented himself as someone helping humanity. Plaintiff relied on this and as a result
        was defrauded of approximately 500 handwritten dream visions and associated discoveries
        (Intellectual Property and Trade Secret materials) by Defendant during 2017, whereby Plaintiff’s
        original materials and Trade Secrets were misappropriated by Defendant largely via email, who
        preyed on Plaintiff’s romantic and trusting nature using his military black operation (MILAB) training
        and Remote Influencing (RI) skills to emotionally manipulate Plaintiff into sharing her highly sought
        after information. Subsequent to Defendant attaining the information for free he and/or his associates
        would disseminate the information publically, claim the experiences as their own, or allege the
        information as ‘secret insider’ intel. This was performed at least a hundred times. No remedy or

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       attribution was given to Plaintiff, while Defendant and his associates profiteered on it from use of
       Plaintiff’s original information and materials. Defendant also prevented the employment of Plaintiff at
       Gaia TV during 2017 for a competing series based on dreams, as he was regularly using Plaintiff’s
       information as his own on his syndicated show carried there, Cosmic Disclosure. Plaintiff has now lost
       a year of over 3 years of work along with many personal and professional relationships, due to
       Defendant defaming Plaintiff as a stalker or similar criminal derogatory term publicly to hundreds of
       thousands of people and to mutual friends and associates to maintain his fraud. January 12, 2018
       Defendant created a derivative work based on approximately 20 of Plaintiff’s handwritten dream
       vision experiences and alleged them as his own. Plaintiff began due process of law to the best of her
       abilities April 18, 2018 for remedy and attribution due, once discovering the Defendant’s fraud and
       deceptive trade practices. Defendant has avoided and evaded addressing the claims due, to include
       opening a malicious prosecution case, July 17, 2018, that Plaintiff got dismissed in her favor. This
       matter is governed by C.R.S. 18-4-401 theft (fraud/con games), C.R.S. 18-4-408 Theft of Trade
       Secrets, and CUTSA (Colorado Uniform Trade Secret Act). Plaintiff has exhausted all options for
       remedy and attribution due outside of litigation. See attached Exhibit certified mailings: Pre-
       Litigation Affidavit Complaint, failure notices, and billing statements; hereafter PLAC.



           Based on these and other facts, Plaintiff hereby incorporates all Exhibits as filed

       on this court record since June 25, 2018 through to the date of this Amended

       Complaint filing and as listed in the attached COMPLAINT EXHIBIT LIST as if set

       forth fully herein and is set forth fully herein as evidence in support of its claims.

       None of the claims stated herein preclude Plaintiff’s rights to seek remedy for any

       related claims under federal jurisdiction such as copyright infringement.


       Plaintiff now asserts the following claims against Defendant, James Corey Goode,

       based on the state statutes cited and the common law of the state of Colorado




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   I.      GENERAL ALLEGATIONS

   RELEVANT BACKGROUND OF PARTIES


   1. The plaintiff, Alyssa Chrystie Montalbano, is a private individual residing in Mesa County

        Colorado and is the owner of Ari Stone Art LLC with a primary place of business and

        mailing address in Grand Junction, Colorado. Ms. Montalbano is an award winning artist and

        award winning dream researcher and author; having had her art and books seen in multiple

        local Grand Junction art galleries and shops on Main Street. Her self-published coloring

        books, tarot journals, and dream books, are available online and via Amazon.com.


   2. The defendant, James Corey Goode, is a public figure that publicly claims he is a Secret

        Space Program (SSP) whistleblower and that he was part of the government’s covert ‘20 and

        back’ program, where he goes 20 years into the future and is then age and time regressed to

        look like he never left. He claims he did this three times. Mr. Goode also publicly claims

        regularly being under ‘attack’ by the “Dark Alliance” or ‘cabal,’ and that he is poor needing

        regular donations from the public so he and his family can survive these attacks and cover

        regular living expenses and that by donating to him the public is fighting evil (Dark Alliance)

        people (cabal) and are part of bringing full disclosure, love, and truth to humanity, and that

        he is in regular communication with alien races via dream states. (See Exhibit BQ and BR

        filed February 21, 2020, Goode talking on Cosmic Disclosure claiming he’s been in the SSP

        and in alien contact; and see Exhibits BN and BO of his alien contact claims)


   3. Mr. Goode’s publicly well-known definition of “Dark Alliance” is people who threaten to

        murder him or his close associate Mr. David Wilcock; and that the “Dark Alliance” people in


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       general are murders, rapists, pedophiles, Cabal, Cabal Pedophiles, Satanists, and human

       traffickers (who perform sacrifices) through secret Luciferian Cults. Mr. Goode also

       threatens the “Dark Alliance” by saying they can lose their lives if they don’t back down and

       go back to their private lives. (See attached Exhibit: CR Corey Goode “Dark Alliance”)


   4. Mr. Goode publicly claims being in the CIA MKULTRA mind control program since about

       17 years old and the MiLab (MiLitary Abduction) mind control program since the age of 6.

       (See Exhibits: BO; and BS video at about 18 min time stamp filed February 21, 2020)


   5. Mr. Goode works closely with Mr. David Wilcock, a public figure and New York Times

       bestselling author (who also writes about dreams) to spread Mr. Goode’s public narratives to

       millions of people in the Consciousness Community around the world. (See Exhibit BQ and

       BR filed February 21, 2020 Goode with co-host Wilcock on Cosmic Disclosure)


   6. Mr. Goode is heavily promoted by Mr. Wilcock who publicly claims he is the famous dream

       psychic, Edgar Cayce, reincarnated. Mr. Wilcock leads millions of people to believe he has

       answers for them about dreams, that he is a dream psychic, and dream teacher aware of

       sacred dreaming and ascension mysteries. (See Exhibit BR Wilcock talking about his

       telepathic communications, Remote Viewing, and dream recall documentation)


   7. Defendant’s public narratives and alien claims of being visited in his dreams by

       ‘Blue Avian’ aliens (8 foot plus tall bluebirds) and other ‘aliens’, have been heard globally

       via his then television and internet broadcasted show, Cosmic Disclosure, carried at Gaia

       Inc., about 2015 – 2020. These programs are broadcast to Mesa County. (See Exhibits BQ

       and BR Cosmic Disclosure episode samples)


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   8. Mr. Goode’s public narratives and claims have been told and continue to be told via the

       internet, public speaking events and other published and broadcast mediums that are received

       in Mesa County and are heard by millions of people around the world.


   TRADE SECRET INTELLECTUAL PROPERTY AND ANALYSIS PROCESS

   9. Ms. Montalbano believed in the Defendant’s public claims broadcast in Mesa County

       (Complaint ¶¶2-8) and that Mr. Goode and Mr. Wilcock knew about dreams and their

       meanings and that Mr. Goode was in need of donations and information. (See Exhibits CJ

       and CQ public donation requests by Goode and Wilcock)


   10. as a result of relying on these public claims of Mr. Goode’s and belief that he and his

       associate Mr. Wilcock knew about dreams, largely during 2017, plaintiff sent approximately

       500 handwritten Dream Vision codes (Trade Secret IP) via email from Mesa County to the

       defendant believing she was helping him and Mr. Wilcock fight the “Dark Alliance” and

       bring full disclosure and truth to humanity about dreams by sharing her Trade Secret Dream

       Vision codes (Intellectual Property) and analysis process and resultant information with Mr.

       Goode. It was expected that the Dream Visions would be used to fight the ‘Dark Alliance,’

       not (1) for the personal profit of Mr. Goode, (2) to be misappropriated by Mr. Goode as his

       own, (3) be disclosed to general public without attribution to Plaintiff, and (4) to be deemed

       as the personal property of Mr. Goode to be exploited however he saw fit.


   11. With belief that Mr. Goode’s public claims were true, Ms. Montalbano also made financial

       donations to Mr. Goode and his associates (See Exhibits CJ and CQ donations to Goode and

       Wilcock associate Pete Peterson) and paid and travelled to attend Mr. Goode’s public events:

       Conscious Life Expo, CA (February 2017) and Eclipse of Disclosure, CA (August 2017).

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   12. The Defendant was aware of Ms. Montalbano’s unusual Trade Secret Dream Vision

       foreseeing abilities, as was evidenced publicly during his August 2017 Eclipse of Disclosure

       public event, Mr. Goode’s close associate (believed to be name Vivian Davis) used

       Ms. Montalbano’s original Energetic Portal Design artwork on a slide titled “Modern Day

       Shamans.” No remedy or attribution was given to Ms. Montalbano. (See Exhibit AL filed

       March 25, 2019 photograph by plaintiff of her artwork used in the ‘Modern Day Shaman’

       slide at Goode’s public event)


   13. ‘Synchronistic’ and ongoing public use of Plaintiff’s materials and information, as seen in

       ¶12, encouraged Ms. Montalbano to keep sharing her dream experiences with the defendant.

       (See exhibit PLAC (¶30) Sections 2 and 3, for examples of info sent to the defendant)

   14. After defendant received vast amounts of Plaintiff’s Trade Secret materials for free, he and

       his associates then began to overtly publicly defame Plaintiff as a stalker and later as part of

       the “Dark Alliance.” (¶3)


   15. Mr. Goode uses his CIA MKULTRA, MiLab, and military training of Remote Viewing,

       Remote Influencing, Astral Projection, dream invasion, and mind control training, to

       influence and manipulate Plaintiff in both sleep and waking states.


   16. The PLAC (Complaint ¶30) cites some key romantic dream/astral visits by defendant to

       Plaintiff that were followed up by Mr. Goode communicating with plaintiff in waking states.


       a. On May 22, 2017 defendant used his astral projection abilities to intimately visit plaintiff.

           Shortly after, he directly communicated with Ms. Montalbano via Facebook messenger.

           (See Exhibit PLAC at No. 3-23)


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       b. Mr. Goode romantically visited Ms. Montalbano December 16, 2017 in a Dream Vision

           where he married plaintiff and highly decorated military personnel were also present.

           Plaintiff emailed this dream to the defendant upon waking and asked about it. Mr. Goode

           communicated by email with plaintiff. (See PLAC at No. 2-11 and 3-35)


       c. A few other examples of Mr. Goode’s ongoing and repeat dream visits to Plaintiff are

           also cited in the PLAC at the following Numbers:

                     (i.)     3-15     Angel and Christian Cards;
                     (ii.)    3-29     Eye Problems and Galaxy Stone (girl shot in eye);
                     (iii.)   3-30     Father and Son patch up differences (son);
                     (iv.)    3-32     Vegetarian Eating (healed boy)
                     (v.)     3-38     Philadelphia Event Safe
                     (vi.)    3-39     Vampire History and Shapeshifting for Prison Sanctuary Love
                     (vii.)   3-40     Vatican Dream Showing Married Man How I Pass Through Walls
                     (viii.) 3-41      Living Mummy and Why Him

   17. After the December 16, 2017 twin flame marriage Dream Vision, Mr. Goode and his

       associates began to use it as a way to overtly defame and embarrass Ms. Montalbano as a

       stalker and someone sexually amoral having an extramarital affair with Mr. Goode.


   18. Current documented examples of Mr. Goode’s ongoing and repeat dream visits to Plaintiff

       since the start of litigation, where he first tells Plaintiff what he’s going to do in waking states

       before he does them, are seen in the Affidavit & Tangible Dream Vision Trade Secret

       Evidence filed February 12, 2020 with 22 Dream Vision IP codes and custom analysis;


       a. A notable Dream Vision (DV) example is where Mr. Goode appears as himself and he is

           calculating Ms. Montalbano’s trust funds to determine how much he can sue Ms.


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           Montalbano for and was documented in writing on March 18, 2019. 8 months later in

           waking states on November 20, 2019, Mr. Goode threatened to go after Ms.

           Montalbano’s trust funds in his angry reply to a YouTube video plaintiff posted.

           (See Affidavit at No. 18 (analysis) with Exhibit BB Sample 18 (Dream Vision IP code))


   CIA, DREAM, REMOTE VIEWING, TELEPATHIC BEHAVIOR MODIFICATION
   AND THE DEFENDANT

   19. The CIA, other sectors of the military and prestigious universities and science institutions are

       involved in the same dream research, Remote Viewing and Remote Influencing activities as

       Mr. Goode, notably for mind control purposes.


       The CIA has thousands of declassified MKULTRA mind control program documents

       publicly available on the CIA website reading room. (See Exhibit AK filed February 27,

       2019 CIA Project BLUEBIRD; and Exhibits BC, BD, BE, BG, BI, BJ, BK, BL and BM filed

       February 21, 2020 of some declassified CIA mind control program records)


       Based on information and belief, Mr. Goode is researching Plaintiff and her Trade Secrets for

       remote neurological mind control purposes.


   20. CIA MKULTRA

       The illicit and covert CIA MKULTRA mind control programs experiment on people for the

       purpose of mind control without consent and work with prestigious Universities and

       Scientific Research Centers. Many people experimented on don’t know they are being

       experimented on or part of illicit programs. This was a serious issue addressed in the Senate

       Hearing of 1977.(See exhibit BC filed February 21, 2020 MKULTRA Senate Hearing p2 ¶8)


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       Based on information and belief, Mr. Goode is experimenting remotely and non-consensually

       on Ms. Montalbano in sleep and waking states.


   21. MKULTRA is a brain washing and personality splitting program that uses neuroscience for

       the purpose of ‘Telepathic Behavior Modification’ for literal ‘consciousness obliteration’ of

       the “Targeted Individual” (TI) or “Interrogation Subject” to control the victim (mentally and

       physically) like a robot through the use of hypnosis, frequencies, micro chipping, and drugs,

       for “Subconscious Isolation.” (See Exhibit BE filed February 21, 2020 CIA Telepathic

       Behavior Modification for Consciousness Obliteration)


       Upon information and belief, the defendant is trying to telepathically behavior modify

       plaintiff in sleep states using his MKULTRA training.


   22. Remote Viewing and Astral Travel

       Defendant publicly claims being able to astral project outside of his body since childhood

       and    being     hand     selected    by    the   military     since      childhood   for   his    abilities.

       (See February 21, 2020 filed Exhibits: BO - Goode MKULTRA MiLab since age 6; and

       exhibit BS Goode SSP since about 17 years old)


       Defendant publicly claims working with Mr. Gerald O’Donnell since 1993. Mr. O’Donnell is

       a World-Renowned Remote Viewing and Influencing Expert. Mr. O’Donnell worked for the

       Western European Intelligence Agency in the 1980’s as part of the Remote Viewing

       program, where he was part of the covert counter intelligence to the Soviet KGB and GRU

       programs. (See Mr. O’Donnell’s website: https://probablefuture.com/about-gerald-odonnell/ ;




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       and See Exhibit CIA Russell Targ Remote Viewing Program filed December 11, 2018; and

       See Exhibit BG Neurological Correlates to Remote Viewing filed February 21, 2020)


       The CIA has funded and developed programs focused on Remote Viewing, which is similar

       to Astral Projection; where a person travels with their ‘mind’ to see things in other locations

       and report back what they saw. (See Exhibit CIA Rusell Targ Remote Viewing Program filed

       December 11, 2018; and See Exhibit BG Neurological Correlates to Remove Viewing with

       SRI International filed February 21, 2020)


       The defendant uses his astral projection, remote influencing, and remote viewing abilities, to

       ‘visit’ and influence Plaintiff in sleep and waking states. (Complaint ¶16 and ¶18)




   23. CIA Project BLUEBIRD

       Mr. Goode publicly claims going off world with 8 plus foot tall “Blue Avian(s)” (Blue Bird)

       aliens. (See Exhibit U filed January 30, 2019 image of Mr. Goode and a BLUEBIRD alien;

       and see Exhibit BN filed February 21, 2020 Goode ‘Blue Avian’ alien off world claims)


       The CIA’s Project BLUEBIRD (from the 1950’s) notably cited a strong and growing interest

       in the development of ESP (Extra-Sensory Perception) for militaristic use and mind control.

       (See Exhibit AK filed February 27, 2019 CIA Project BLUEBIRD mind control project)


       Based on information and belief, Mr. Goode’s ‘alien’ claims and visits are an ‘ESP’ based

       mind control program.




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   24. “Interrogation Teams” to Intelligence Gather

       Mr. Goode publicly claims being a part of “Interrogation” teams for intelligence gathering.

       (See Exhibit BO filed February 21, 2020 at p2 Goode claims being in the “Intruder Intercept

       Interrogation Program”)


       The CIA’s Project BLUEBIRD had “Interrogation Teams” that explored mind control with

       hypnotism. (See Exhibit AK filed February 27, 2019 CIA Project BLUEBIRD and note

       “Interrogation Teams” of three people to include a hypnotist)


       Based on information and belief, Mr. Goode has been “interrogating” Plaintiff in sleep and

       waking states to intelligence gather.


   25. A.I. Neural Network Interfacing with Human Brains

       Mr. Goode claims his ‘alien Anchar’ friends communicate with humans via egg shaped

       chairs that link into peoples’ neuronetworks (brains). (See Exhibit BN filed February 21,

       2020 at page 3 of 24 section titled, “PRIVATE ACCOMODATIONS” showing others involved

       with Goode to invade the neural networks (brains) of the general public for remote telepathic

       communications.)


       The CIA uses remote Telepathic Behavior Modification (TBM) to telepathically send ‘nasty’

       thoughts to cause sickness in the targeted subject and remotely alter the Targeted Individual’s

       behaviors and white blood cell count. (See Exhibit BE filed February 21, 2020 CIA

       Telepathic Behavior Modification at p30 ¶1)


       Based on information and belief, Mr. Goode is using neural network invasion techniques

       and/or technology to ‘telepathically’ visit and attempt to behavior modify Plaintiff.

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   26. Remote Frequency Assassinations A.I. Technology (S.A.T.A.N.)

       Defendant publicly claims participating in remote killing (assassination) of people while

       participating in the illicit CIA MKULTRA mind control programs. (See Exhibit BS filed

       February 21, 2020 video of Mr. Goode talking about remote killing of Targets being required

       in the program and he had no choice but to participate and/or be mind-wiped)


       The CIA has remote neural monitoring technology for psychic assassinations and in

       particular the CIA has an Artificial Intelligence program called S.A.T.A.N. (Silent

       Assassination Through Adaptive Networks). The program interfaces with the mind and has a

       subprogram called VooDoo Doll that remotely stimulates the Target’s brain cortices to cause

       them to feel physical pain or pleasure in whatever area of the body chosen, as if physically

       occurring. The goal is typically to cause a suicide or create sociopathic assassins. This is

       done wirelessly and utilizes Radio Frequency (RF) waves and is also known as Touchless

       Torture. (See attached Exhibit CS – from book “Project: Soul Catcher Volume Two Secrets

       of Cyber and Cybernetic Warfare Revealed” by Robert Duncan and the Mind Hacking

       Strategy Group, p224-p239 about the CIA S.A.T.A.N. program and how it is used on

       Targeted Individuals)


       Upon information and belief, the defendant and his government contacts have attempted

       multiple assassinations of Ms. Montalbano, her dream research associates, and family

       members, in sleep (neural dream) states with S.A.T.A.N. or similar A.I. technology.


   27. Neuroscience and Neurological Alterations

       Mr. Goode has publicly and on court records claimed he has the following health issues:

       Temporal Dementia, Aphasia, Epilepsy, Brain Trauma, Complex Post Traumatic Stress

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       Disorder (not combat related) and eye retinal detachment. (See filed February 21, 2020:

       Exhibit BQ (video health claims); and Exhibit BP Darling v Goode and Goode health claims)


       Based on information and belief, Mr. Goode’s public neurological and mental health claims

       are a matter of serious public issue and are the reason for Mr. Goode’s ‘alien’ hallucinations

       and publicly erratic, dysfunctional, volatile, and abusive behaviors in the community and are

       a result of the illicit CIA MKULTRA and MiLab programs he claims being in.


   INDIVIDUAL EXPERIMENTS ON PLAINTIFF – DREAMS

   28. Based on information and belief, Mr. Goode has been remotely studying and remotely

       experimenting on Ms. Montalbano for years, in both dream and waking states, as a chosen

       Targeted Individual for the CIA mind control programs he falsely claims he’s whistleblowing

       on. (See Attached Exhibit CO – Mr. Goode Tweet stating “We are directly targeting each of

       the bad actors. #RingOfFire #DarkAlliance #cyberstalking” and see Exhibit CS at p225

       where sleep patterns can be tracked remotely)


   FRAUD

   29. Ms. Montalbano began to become aware of Mr. Goode’s deceptive trade practices and being

       defrauded of her valuable dream research around December 2017 and that Mr. Goode was

       not the CIA whistleblower, dream teacher, or harbinger of galactic love and light he publicly

       claimed and was instead perpetrating the type of program he claims he’s whistleblowing on.


   PRIMA FACIE AUTHENTIC RECORDS (PLAC)

   30. Plaintiff incorporates the unrebutted Pre-Litigation Affidavit Complaint, Prima Facie

       authentic mailings (77 pages); hereafter, PLAC; and as filed November 13, 2018 this court


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       record, as if set forth fully herein for Remedy and/or Response as unrebutted evidence of use

       of Trade Secret materials and copyrighted materials by the defendant. (See Mesa County

       CLERK AND RECORDER Reception # 2843230 6/7/2018)


   31. Ms. Montalbano began what she understood to be due process of law to the best of her

       abilities, April 18, 2018, and served the PLAC affidavits and notarized billing statements via

       USPS for response. Mr. Goode never responded to these documents.


   32. The unrebutted PLAC claims were filed with the Mesa County Clerk and Recorder Office as

       Prima Facie authentic records June 7, 2018.


   33. Mr. Goode’s romantic organized public cyberstalking to obtain Ms. Montalbano’s Trade

       Secrets during 2017, became notably defamatory and hateful after the PLAC mailings.


   “DREAM VISION” COPYRIGHTS AND TRADE SECRET MISAPPROPRIATION


   34. Ms.    Montalbano         holds     Copyrights      on     the    following   dream   based   books,

       “Dreams The Missing Text” and “DreamWalker” (See Exhibit X filed January 30, 2019)


   35. Of the 500 Dreams Visions (Intellectual Property) donated to Mr. Goode largely during 2017

       in approximately 400 emails, about 50 were federally copyrighted in “DreamWalker” and

       Mr. Goode also received approximately 450 unpublished common law copyrighted Dream

       Vision codes with associated custom analyses and resultant information.


   36. During 2017, Mr. Good violated Ms. Montalbano’s copyrights and retailored Plaintiff’s

       Dream Vision experiences and used them on his then syndicated show, Cosmic Disclosure,



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       as though they were his own experiences with his alleged ‘alien’ friends. (See Exhibit PLAC

       at No. 2-1 through 2-6; and No. 2-21 instances of derivative work use on Cosmic Disclosure)


   37. January 12, 2018 Mr. Goode violated Ms. Montalbano’s copyrights and created a derivative

       work he called “Mega Update” that was based on the information and experiences contained

       in approximately twenty (20) of Ms. Montalbano’s Dream Visions. He told the story as

       though it was his own experiences with his ‘alien’ friends and as if it was actual intel/news

       and/or ‘secret insider information.’ (See exhibit PLAC at No. 2-6 through 2-20 for “Mega

       Update” derivative work use)


   ABUSE OF PROCESS AND MALICIOUS PROSECUTIONS

   38. Mid- June 2018 through to current, Mr. Goode and his Texas based counsel, Ms. Wilde,

       attempted five (5) malicious prosecution cases with abuse of process to harass and defame

       Ms. Montalbano to maintain Mr. Goode’s public fraud and theft of Plaintiff’s Trade Secret

       materials with repeat frivolous cases lacking reasonable factual or cognizable basis in law.


   39. Mr. Goode used his baseless cases to overtly publicly defame Ms. Montalbano as a stalker.

       On July 17, 2018 via Facebook, Mr. Goode publicly implied Ms. Montalbano was a stalker

       by stating he had to obtain a Protection Order, the same date he fraudulently obtained the

       Protection Order against Ms. Montalbano. (See Exhibit AM filed March 25, 2019)


   40. June 2018 through to current, Mr. Goode repeatedly lost his stalking claims against Plaintiff

       in multiple courts and cases, even with his fabricated evidence and perjury that he did not

       have a stalking protection order against himself, yet he continued to publicly defame

       Ms. Montalbano as a stalker and refused to stop.


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   DEFAMATION – PRIVATE DISCLOSURES - AND DONATIONS

   41. 2018 through to current, Mr. Goode began many public defamation libel and slander hate

        campaigns against Ms. Montalbano calling her a stalker, “Dark Alliance,” someone with a

        mental disease, and someone sexually amoral having an extramarital affair with him to those

        in the same or similar trades and professions via: Facebook, Reddit, YouTube, and Twitter to

        thousands and even hundreds of thousands of people. (See Exhibits AM, AO, and AP filed

        March 25, 2019; See Exhibits AR, AS, AU, AW, and AY filed August 2, 2019; and See

        Exhibit AZ filed September 9, 2019; and See Exhibit CC filed March 19, 2020; and See

        attached Exhibits CL, CM, CN, and CO for examples of published and broadcast defamation)


   42. 2018 through to current, Mr. Goode released private information about Plaintiff to the public

        that was not a matter of public interest, such as Plaintiff’s intimate marriage dream

        experience with Mr. Goode.


   43. March 2020, the Defendant used the internet to garner illicit donations and support from the

        public to financially fund his harassment and defamation activities of Ms. Montalbano via the

        court systems. (See attached Exhibit CI)


   I.      CAUSES OF ACTION CLAIM COUNTS

                                         COUNT 1
                           FRAUDULENT MISREPRESENATION (FRAUD)

   44. The Defendant made a false representation of facts that were material and he knew they were

        false. Plaintiff’s reliance on these facts were justified and this reliance caused injuries,

        damages, and losses to Plaintiff.


   45. Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.
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   46. Plaintiff incorporates the allegations in COUNT 7 DEFAMATION and COUNT 8

       HARASSMENT by reference as evidence of fraudulent misrepresentation.


   47. Plaintiff incorporates the allegations in COUNT 5 ABUSE OF PROCESS and COUNT 6

       MALICIOUS PROSECUTIONS by reference as evidence of fraudulent misrepresentation.


   48. Mr. Goode public claims:

       Plaintiff relied on Mr. Goode and Mr. Wilcock’s public claims as being true; like millions of

       other people in the general public. (Complaint ¶¶2-8)


   49. Plaintiff learned the claims by the Defendant were not true when:


       A. The defendant (mis)used plaintiff’s Trade Secret Intellectual Property and associated

           research as his own experiences, information, and materials. (Complaint¶¶36-37)

       B. Defendant began to seek stalking charges against Ms. Montalbano for a crime not

           committed mid-June 2018 and then provided fabricated evidence for the Broomfield

           Combined Courts to obtain a fraudulent Temporary Protection Order July 17, 2018.

       C. After the defendant repeatedly lost his baseless stalking claims, he and his associates

           publicly and maliciously proceeded to defame Plaintiff as a stalker and someone sexual

           amoral to hundreds of thousands of people in the general public and refused to stop when

           asked (2018 to current).


       D. Plaintiff further learned Mr. Goode was making fraudulent misrepresentations about who

           the “Dark Alliance” people actually are, after he began to publicly defame

           Ms. Montalbano as “Dark Alliance.” (See Exhibit CR Dark Alliance definition taught to


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           Goode and Wilcock followers; and Exhibit AP filed March 25, 2019; Exhibit AW filed

           August 2, 2019; and attached Exhibits: CL, CM, CN, CO, and CP of Goode defaming

           Ms. Montalbano as ‘Dark Alliance’ to the public)


       E. Plaintiff knew Mr. Goode was not love and light based, or trying to bring unity to the

           consciousness community, after enduring 2 years (2018 to current) of his ongoing

           organized cyberstalking, defamation, and harassment activities against Plaintiff, and him

           refusing to stop and instead repeatedly escalating the hate crimes against Plaintiff, when

           Plaintiff has never retaliated publicly or privately.


       F. Plaintiff knew Mr. Goode (and Mr. Wilcock) were not legitimate dream researchers or

           dream teachers when after Ms. Montalbano had delivered vast amounts of Dream Vision

           data to Mr. Goode and regular ongoing evidence of her accurate dream foreseeing

           abilities; the defendant and his associates chose to publicly defame Ms. Montalbano as

           someone with a mental disease for thinking she foresees the future, when vast amounts of

           evidence support plaintiff’s claim. (See Exhibit AP filed February 27, 2019 Goode

           associate calling Montalbano crazy and sexually amoral; and Exhibits: AU and AW filed

           August 2, 2019 Goode and associates calling Plaintiff delusional, crazy, or insane)


       G. Plaintiff knew Mr. Goode’s alien and dream teachings were false, when Plaintiff learned

           about the declassified CIA MKULTRA documents and compared those records with her

           Dream Vision records and the defendant’s massive amounts of dream visits and learned

           the CIA mind control programs for psychic warfare use frequencies, hypnosis, Artificial

           Intelligences, neural network interfacing, and directly impact sleep-wake (dream) states

           for mind control purposes and that plaintiff’s DV records matched the CIA records.

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       H. Plaintiff further learned the defendant was a false MKULTRA whistleblower when

           Ms. Montalbano began communication with Mr. Randy Maugans, an MKULTRA

           experiencer and legitimate program whistleblower, who explained to Ms. Montalbano

           that her Dream Visions had a lot of MKULTRA symbology and codec in them and that

           the CIA uses dream states for sexual encounters as well as murder efforts. Mr. Maugans

           is willing to testify as an expert witness.


   50. Knowingly False Public Statements by Defendant about Plaintiff

       A. Mr. Goode knew his public statements about Ms. Montalbano being a ‘stalker’ were false

           when he repeatedly lost his stalking cases even with fabricated evidence and perjury.


       B. Mr. Goode knew his “Dark Alliance” defamation of Plaintiff was false as

           Ms. Montalbano has never threatened him (publicly or privately), his family, or any of

           his associates at any time and Ms. Montalbano has a clean record and is and has been an

           upstanding member of the community.

       C. Mr. Goode knew his defamation of Plaintiff as being ‘crazy,’ ‘delusional,’ or otherwise

           ‘insane’ for dream foreseeing were false because Ms. Montalbano sent vast amount of

           evidence to him (Dec 2016 to current) showing her abilities based on proof, and Mr.

           Goode was well aware of Plaintiff’s abilities as, evidenced August 2017, (Complaint ¶12)

           and as would be recognized by someone trained by the CIA in such matters.


   51. False Dream Prophet, defendant associate, David Wilcock

       A. Plaintiff learned defendant associate, David Wilcock, was a fraud dream prophet-psychic

           fraud dream teacher, and unlawfully used other researchers’ work as his own when:



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             (i)       March 7, 2019 YouTube channel, unSpirituality, posted video “Linda Moulton

                       Howe EXPOSES David Wilcock” with a clip from public figure Linda Moulton

                       Howe’s YouTube channel Earthfiles, where Ms. Howe exposed that David

                       Wilcock stole her legitimate secret insider information and research, and

                       presented it as thought his own on his YouTube channel. Ms. Howe reported

                       Wilcock to YouTube and Wilcock’s video was struck for copyright

                       infringement. (See Exhibit CT Wilcock exposed by unSpirituality)


             (ii)      When news reporter Mr. Daniel James posted to YouTube, December 13, 2019,

                       video titled, “Threats, Intimidation & New Age MADNESS” and played

                       Mr. Wilcock crying on a radio show in 2011 and worried he’d be

                       narcohypnotized then played Wilcock in 2019 on Edge of Wonder YouTube

                       channel stating he was never threatened.(Exhibit BU filed February 21, 2020)


             (iii)     On April 7, 2020, Occult Priestess stated that David Wilcock told her at a 2017

                       New Year’s Eve party he no longer had visions (dream visions) and that he

                       leaves that to Corey Goode. (See Exhibit CT YouTube Live Chat April 7, 2020)


             (iv)      When many other people in the community also began exposing Mr. Wilcock’s

                       many and ongoing failed dream predictions. To include news reporter Dark

                       Journalist Tweet posting on April 22, 2020 pointing out another Wilcock failed

                       prediction of “3 days of Darkness” (See Exhibit CT Dark Journalist Tweet)




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             (v)       When Mr. Cambian on his YouTube channel, Truthseekers, posted

                       “Truthseekers Episode 0006 : “David Wilcock and a box of dildos.” June 26,

                       2020 and exposed: (See Exhibit CT screenshot Truthseekers YT video)


                       a. David Wilcock had been fraudulently claiming he’s the famous dream

                           psychic Edgar Cayce reincarnated. Mr. Cambian contacted the Edgar Cayce

                           Foundation and found out that they have a test (as many people claim to be

                           Mr. Cayce) and that Mr. Wilcock took the test and failed, and that Mr.

                           Cayce’s family has told Wilcock to stop publicly claiming he’s Mr. Cayce

                           reincarnated and Wilcock has not stopped. (Time Stamps 4:00 – 7:00)


                       b. That David Wilcock has thousands of failed predictions documented online

                           and that one of Mr. Wilcock’s SSP ‘whistleblowers’ is a convicted child

                           molester. (Time Stamps 7:00 – 12:00)


                       c. That David Wilcock’s books are about 50% to 60% copy and pasted works.

                           (Time Stamps 16:30 – 17:30)

   52. False Whistleblower Claims

       A. Plaintiff learned the Defendant, Mr. Goode, was a whistleblower fraud when his former

           employer at Gaia Inc, Mr. Jay Weidner, began to publicly speak up starting May 8, 2019

           on his YouTube channel, REALiTY CHeCK, and stated Mr. Goode also used his film

           stories as part of his alien narratives in the Comic Disclosure show. (Mr. Goode is also

           suing Mr. Weidner in the pending frivolous RICO case that is also against Ms.

           Montalbano (Complaint ¶140)



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       B. Ms. Montalbano learned, April 25, 2019, that Mr. Goode participated in promoting

           another fraudulent whistleblower of Mr. David Wilcock’s, when Steven Cambian posted

           to his YouTube channel, “The Midnight Hour (0013) Pete Peterson & David Wilcock

           gofundme investigation” Mr. Cambian investigated David Wilcock’s then number one

           ‘whistleblower’ (before Mr. Goode came along) Pete Peterson (since deceased), who was

           also seen on the Cosmic Disclosure show. Mr. Cambian discovered Mr. Peterson’s entire

           resume background was completely fabricated and Wilcock’s donation fund raiser for

           Pete was based on completely false statements and made up stories about a standard

           home foreclosure and raked in about $55,000 in illicit donations. Mr. Cambian is willing

           to testify. (See Exhibit CQ Pete Peterson Go Fund me scam and Plaintiff’s donation to it)


       C. Mr. Peterson was further exposed as a fraud by both Mr. Goode and Mr. Peterson’s

           former employer, Mr. Jay Weidner, on his REALiTY CHeCK YouTube channel.


       D. Mr. Peterson was also cited as one of Mr. Goode’s associates ‘synchronistically’

           disseminating bits of Ms. Montalbano’s Dream Visions information as his own during

           2017. (See Exhibit PLAC, at No. 3-27 Peterson talking about draco reptilians being 1/3

           good as if his info and actual news (Cosmic Disclosure S7E31 at 26:00 min time stamp))


       E. Ms. Montalbano further learned Mr. Goode’s claims of being in the Secret Space

           Program 20 and Back was more plagiarized work belonging to the real whistelblowers

           named Michael and Stephanie Relfe, who actually had the experiences and made the

           information available for free to the public in their published internet books around 2000,

           via the website http://TheMarsRecords.com. (See Exhibit V filed January 30, 2019 and

           video write up linking to the Relfe’s internet content)

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       F. Ms. Montalbano also learned Mr. Goode extensively data mined the ProjectAvalon.net

           internet community of spiritual seekers, experiencers, and legitimate whistleblower

           members for their stories, insider experiences, and testimonies, just prior him contracting

           with Gaia Inc and co-hosting his then show Cosmic Disclosure, with David Wilcock.

           Technical data of this data mining can be obtained from the ProjectAvalon site

           administrators.      (See Exhibit V again, Bill Ryan is a public figure and     legitimate

           whistleblower and founder of the ProjectAvalon website)


       G. When Gaia Inc. removed Mr. Goode’s show, Cosmic Disclosure from airing, early 2020,

           due to the massive amounts of conflict Mr. Goode has been creating in the consciousness

           community and his ongoing defamation acts against Gaia Inc and others.


   LAWSUITS AND DEFAMATION FOR DONATIONS

   53. Mr. Goode opens multiple lawsuits for the improper purpose of gaining public fame,

       notoriety, new followers, to promote his fraudulent misrepresentations and garner illicit

       donations from the public through falsely claiming valid researchers in similar trades and

       professions to himself, such as Plaintiff, are “stalkers,” “Dark Alliance,” or “brutal and

       greedy cabal,” trying to kill him and that “Corey must pursue and fight these entities in

       various court systems…” (See attached Exhibit CI Light Warrior Legal Fund)


   54. Mr. Goode has started a website, on or about March 2020, for what he calls the

       “Light Warrior Legal Fund,” where he is fraudulently stating people like Plaintiff are “Dark

       Forces” (Dark Alliance; Complaint ¶3) and he is garnering illicit donations from hundreds




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       and even thousands of people in the public to pay for his ongoing abuse of Plaintiff and other

       valid researchers via the legal system. (See attached Exhibits CI, CL CM, CN, CO, and CP)


   55. Mr. Goode started a for-profit LLC for these fraudulent legal fund donations. (Exhibit CI)


   56. Mr. Goode is using these fraudulent misrepresentation to destroy the reputation, business,

       and life of Ms. Montalbano.

   57. Mr. Goode has used lawsuits as a way to garner donations off of the public since as early as

       2012. (See attached Exhibit CI – James Corey Goode 2012 Facebook Lawsuit Donation

       Request Post)


   58. During 2017 Plaintiff also believed Mr. Goode’s fake news “Dark Alliance,” stories as being

       true and that he was poor needing money for regular living expenses, and under attack from

       the “Dark Alliance,” and also donated money, November 29, 2017, under these false

       pretenses. (See attached Exhibit CJ –financial Donation to CG)

   DAMAGES AND REMEDIES

   59. As a result of Mr. Goode’s fraudulent misrepresentations and Plaintiff’s reliance on them as

       being true; Plaintiff’s was damaged; initially through delivering her legitimate and original

       Trade Secret dream research materials, custom analysis process and resultant information to

       the defendant; and then damaged by Mr. Goode’s fraudulent and defamatory

       misrepresentations about Plaintiff. Ms. Montalbano has lost professional and personal

       relationships, financial investments, private contractors, business opportunities, mutual

       friends and associates and has suffered ongoing embarrassment, anxiety, and severe

       emotional distress from these fraudulent misrepresentations performed by the defendant and

       his associates against Plaintiff.

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   60. Based upon the facts of Fraudulent Misrepresentation, Trade Secret Misappropriation,

       Violation of the Colorado Consumer Protection Act, Civil Conspiracy, Abuse of Process,

       Malicious Prosecution, Defamation, Harassment, Intentional Intrusion on Privacy Rights,

       Intentional Infliction of Emotional Distress, and Unjust Enrichment, the Plaintiff believes she

       is entitled to recover damages based upon the foregoing act of Fraudulent Misrepresentation;

       to include actual damages, consequential damages, non-economic damages (for mental

       suffering), and punitive damages for malicious intent.


                                                    COUNT 2
         TRADE SECRET MISAPPROPRIATION C.R.S. § 7-74-101 et seq. (CUTSA)

   61. Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.

   62. Mr. Goode used improper means and misrepresentation to defraud Plaintiff of her Trade

       Secret Intellectual Property, custom analysis process and resultant dream research

       information with intent to acquire and use them as his own or for that of use by another and

       deprived Ms. Montalbano of them.


   63. During 2017 Mr. Goode knowingly misappropriated for himself through his public frauds,

       largely via email for he and his associates’ use, approximately 500 handwritten and

       photographed Dreams Vision codes (Intellectual Property) and associated Trade Secret

       analysis process data and resultant predictive dream research information belonging to

       Plaintiff.


   64. The misappropriated Trade Secrets are secret and of value. With exception to Mr. Goode;

       due to Plaintiff’s belief in his public frauds and deceptive trade practices; reasonable care

       was taken by Plaintiff to keep her Trade Secrets, secret.

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   65. A Trade Secret is defined as a ‘process,’ and more importantly “…or other information

       relating to any business or profession which is secret and of value.” (C.R.S. 7-74-102)

       and can essentially be anything that confers value to a business.


   66. In the profession of dream research that Plaintiff and Defendant are involved in, and whereby

       dream predictions are the main area of focus in the trade, having accurate predictive dreams

       and an efficient analysis process to obtain the resultant accurate dream data and information

       is something of great value to a business involved in such trade research, and Plaintiff’s

       highly accurate predictive dream information relates to her business of predictive dream

       research and teaching and is secret and of great value within her profession.


   67. Plaintiff’s Dream Visions are Trade Secret Intellectual Property materials and are also an

       organic predictive code with a unique algorithm based on Plaintiff’s neural observations (aka

       life experiences). Plaintiff’s customized analysis process of her Dream Vision IP codes and

       resultant information shows the predictive capability of the documented organic codes that

       are similar to a highly advanced A.I. computer software (neural) predictive program code.

       When Plaintiff’s custom analysis process is coupled to the Dream Vision IP codes it results

       in a fairly accurate and ongoing prediction of coming and interconnected waking state events.

       This information is secret and of great value in Plaintiff’s trade and profession.


   68. Approximately, 500 of these organic handwritten predictive codes and customized analysis

       processes were photographed, placed into PDF files, and delivered to Mr. Goode largely

       during 2017 and predominantly by email. These records and their resultant information are

       secret and of value to Plaintiff, her business, and her trade of predictive dream research.



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   69. The Trade Secret Intellectual Property codes were never intended to be published by

       Mr. Goode or his associates as though their own stories or experiences in violation of

       copyright laws. (Complaint ¶¶36-37)


   TRADE SECRET CONTRACT THROUGH MISAPPROPRIATION

   70. It is understood a contract was formed between the parties with a theory of recovery, when

       Ms. Montalbano delivered her (Trade Secret) Intellectual Property and customized analysis

       process with resultant predictive dream information to Mr. Goode under false pretenses.


   71. It was understood by Plaintiff that her proprietary dream and analysis information would be

       used for the purpose of helping humanity understand the truth about dreams and that the

       good will of the public would be received as the mutual exchange of consideration.


   72. Mr. Goode is the party whom breached the ‘contract’ through operating deceptive trade

       practices and making knowingly fraudulent misrepresentations about Ms. Montalbano and

       her legitimate predicative dream research to destroy her business and public reputation to

       mutual potential consumers and peers in the same or similar trades and professions.


   TRADE SECRET DETERMINATION

   73. Due to the unusual nature of the Trade Secrets when sending them largely during 2017,

       Ms. Montalbano didn’t fully know her Dream Visions were predictive codes and that her

       customized analyses of them resulted in accurate future predictions .


   74. The confidential information contained in the 500 handwritten Dream Vision codes, and

       associated emails and customized analysis data of such, is exceedingly rare and the

       information contained within the records is not publicly known.

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   75. Other people that Ms. Montalbano has worked with, or currently works with, regarding her

       Dream Vision information and discoveries have signed Non-Disclosure Agreements (NDA).


   76. The CIA and similar government Intelligence interests, scientific programs, and prestigious

       universities, have invested millions, billions, and even likely trillions of dollars to obtain

       information and research like what Ms. Montalbano has organically produced since 2006

       through to current. This type of government and militaristic research has been notably

       performed since at least as early as the 1950’s. (See Exhibits AK filed February 17, 2019

       CIA declassified record Project BLUEBIRD; and see Exhibits BC, BD, BE, BF, BG, BI, BJ,

       BK, BL, BM, filed February 21, 2020 for some CIA declassified dream and mind control

       related research programs)


   77. Ms. Montalbano’s Trade Secret Intellectual Property information, Dream Visions, as

       delivered by mistake and error to the defendant are not duplicable; but her method of analysis

       is duplicable, with the caveat it will be selective to the individual dreamer and would take

       years to acquire data and information of similitude to Ms. Montalbano’s personal collected

       data of Dream Vision codes and to develop the highly customized and individualized

       analyses process of them for that singular person. Ms. Montalbano’s highly customized

       analysis process of her own Dream Vision codes and the resultant information is secret and

       of great value to plaintiff’s business and the field of predictive dream research.


   78. Ms. Montalbano estimates to now have documented around 2,000 to 3,000 unique Dream

       Vision sequences averaging 10-15 pages per night that currently comprise 67 journals with

       an average of 250 to 500 pages per Journal. Mr. Goode has the estimated equivalent of 25 of

       these journals with associated information in his email box since December 2016 to current.

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   79. If Ms. Montalbano’s Trade Secret Intellectual Property codes (Dream Visions) were released

       publicly by the defendant and/or the custom analysis and/or resultant information it would be

       exceedingly damaging to Plaintiff’s company, profession, research and work, that gives her a

       highly competitive advantage in the predictive dream research trade, through having accurate

       predictive dream research information in a field of research filled with frauds who require

       ‘belief’ for their alleged dream prediction work to be ‘valid’ as they have no evidence; and

       whereby Plaintiff’s legitimate dream research and discoveries require NO belief and are in

       fact based on years of actual documented records and the analysis of such records in direct

       comparison to similar waking state events that occurred after the dream was documented in

       writing. In some instances waking state events have occurred 14 years after the Dream

       Vision was documented and others within days. This type of information is exceedingly rare,

       secret, and of great value to Plaintiff, her work, trade, and field of predictive dream research.


   80. Upon information and belief, Mr. Goode has given Ms. Montalbano’s Trade Secret research

       and information to Mr. David Wilcock (a New York Times Bestselling author) for use in his

       fraudulent public dream teachings and published dream teaching works.


   81. Upon information and belief Mr. Goode has given Ms. Montalbano’s Trade Secret Dream

       Vision IP (codes), customized analyses and resultant information to the CIA, DOD, DARPA,

       NSA, USAF, and/or other similar Intelligence Agencies and/or interests.


   EVIDENCE OF PLAINTIFF’S TRADE SECRET EXISTENCE

   82. Ms. Montalbano has provided the courts with a small sample of her Trade Secret evidence

       showing her Trade Secrets do in fact exist and how her written Dream Visions with a

       customized analysis of her own Dream Vision codes do in fact result in fairly accurate

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       predictions of future waking state events. The February 12, 2020 court filed sample Dream

       Visions show that Ms. Montalbano foresaw even this court dismissal situation, and other

       interrelated waking state situations as early as 2010 in her Dream Vision codes and that were

       clearly documented in writing before the waking state occurrences. (See Affidavit &

       Tangible Dream Vision Trade Secret Evidence and attached Exhibit BB filed February 12,

       2020 with 22 Dream Vision samples, customized analysis & resultant predictive information)


   83. The following eight (8) written Dream Vision (codes) seen in Exhibit BB filed

       February 12, 2020 with a customized analysis of these specific Dream Vision code records

       are seen in the Affidavit & Tangible Dream Vision Trade Secret Evidence and were

       photographed and emailed to the Defendant during 2017 and are evidence of valuable

       misappropriated Trade Secret IP code information that when custom analyzed with plaintiff’s

       process the outcome shows a highly accurate predictive waking state occurrence and the

       inter-relationship of the Dream Vision codes to one another:


         i. “Changing Kings Heart with Love” dated June 14, 2016 and emailed to the Defendant

             July 11, 2017 (See Affidavit & Tangible Dream Vision Evidence at No. 1 and Exhibit

             BB Sample 1)


         ii. “Contract Trickery Foiled” dated October 9, 2017 and emailed to the Defendant

             October 10, 2017. (See Affidavit & Tangible Dream Vision Evidence at No. 7 and

             Exhibit BB Sample 7)


        iii. “3 Idiots” dated October 21, 2014 and emailed to the Defendant June 28, 2017. (See

             Affidavit & Tangible Dream Vision Evidence at No. 9 and Exhibit BB Sample 9)


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        iv. “Manifesting Rainbow Spheres” dated July 9, 2017 and emailed to the Defendant

             July 10, 2017. (See Affidavit & Tangible Dream Vision Evidence at No. 10 and Exhibit

             BB Sample 10)


         v. “Legend of the Bear Love - Interporganate” dated July 6, 2013 and emailed to the

             Defendant July 10, 2017. (See Affidavit & Tangible Dream Vision Evidence at No. 13

             and Exhibit BB Sample 13a)


        vi. “Spark Plan Foiled” dated January 1, 2017 and emailed to the Defendant

             October 28, 2017. (See Affidavit & Tangible Dream Vision Evidence at No. 16 and

             Exhibit BB Sample 16)


       vii. “Overcoming Prior Agenda with Love” dated June 24, 2010 and emailed to the

             Defendant June 25, 2017. (See Affidavit & Tangible Dream Vision Evidence at No. 19

             and Exhibit BB Sample 19)


      viii. “MJ12 Magik Light Up Crystals” dated March 29, 2017 and emailed to the Defendant

             July 7, 2017. (See Affidavit & Tangible Dream Vision Evidence at No. 19 at p40)


   84. The other Dream Vision IP codes that are not publicly published or otherwise disclosed and

       still in the defendant’s email box with associated custom analyses are secret and of value.


   85. Improper and untimely release of the Dream Vision IP code and/or custom analysis process

       and/or resultant information would be highly damaging to Plaintiff and her business.




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   MONETARY RECOVER FOR DAMAGES AND INJURY UNDER CUTSA

   86. Ms. Montalbano has been injured in fact through the defendant’s public fraud, malicious, or

       willful and wanton disregard to Ms. Montalbano’s rights and feelings, and the court or jury

       may award damages under this statute to Ms. Montalbano.


   87. The plaintiff has been damaged, personally, professionally, and emotionally, by delivering

       vast amounts of her Trade Secret Intellectual Property (codes) along with customized

       analyses and resultant information to the Defendant and through him having unrestrained

       access to her IP codes and associated predictive information and data since December 2016.

   88. Plaintiff incorporates by reference the factual allegations in COUNT 1 FRAUDULENT

       MISREPRESENTATION and COUNT 3 VIOLATION OF THE COLORADO CONSUMER

       PROTECTION ACT as evidence of circumstances of fraud.


   89. Plaintiff incorporates by reference the factual allegations in COUNT 4 CIVIL CONSPIRACY

       as evidence of circumstances of working with others to promote a fraud.


   90. Plaintiff incorporates by reference the factual allegations in COUNT 5 ABUSE OF PROCESS,

       COUNT         6   MALICIOUS        PROSECUTION,          COUNT       7    DEFAMATION,   COUNT       8

       HARASSMENT and COUNT 9 INTENTIONAL INTRUSION ON PRIVACY RIGHTS, as

       evidence of malice or willful and wonton disregard to Ms. Montalbano’s rights and feelings

       and as evidence of circumstances of fraud.


   91. The aforementioned acts constitute the claims of COUNT 10 INTENTIONAL INFLICTION OF

       EMOTION DISTRESS and COUNT 11 UNJUST ENRICHMENT, and the courts may also award

       exemplary damages under CUTSA. (C.R.S. 7-74-104)


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   ATTORNEY FEES UNDER CUTSA
   92. The defendant has threatened to publicly release more of Ms. Montalbano’s proprietary

       information and Dream Vision IP and Ms. Montalbano is reasonably afraid he will do so.

       (See Exhibit AM filed February 27, 2019 Facebook slander threat to release Info; and Exhibit

       AU filed August 2, 2019 Reddit slander threat to release Info)

   93. Ms. Montalbano believes she is entitled to attorney/legal fees and to declaratory and

       preventive Injunctive Relief for malicious misappropriation:

       a. Declaratory Relief: declaring the approximate 500 hand written Dream Vision codes

           (Trade Secret Intellectual Property) and associated emails (custom analysis process and

           resultant information) donated to the Defendant by mistake and error largely during 2017

           and to current, as being Ms. Montalbano’s sole and separate Trade Secret Intellectual

           Property, codes, information, analysis process, discoveries, and research;

       b. Preventative Injunctive Relief: to restrain the Defendant from further public or private

           dissemination and (mis)use of Ms. Montalbano’s Trade Secret materials as his own or

           giving the information to an associate for (mis)use or dissemination of the same, or to

           embarrass and defame Plaintiff.

   94. Based upon the facts of Trade Secret Misappropriation, Fraudulent Misrepresentation,

       Violation of the Colorado Consumer Protection Act, Civil Conspiracy, Abuse of Process,

       Malicious Prosecution, Defamation, Harassment, Intentional Intrusion on Privacy Rights,

       Intentional Infliction of Emotional Distress, and Unjust Enrichment, Plaintiff believes she is

       entitled to Declaratory Relief, Injunctive Relief, and to recover damages based upon the

       foregoing acts of Trade Secret Misappropriation; to include actual damages consequential

       damages, non-economic damages (for mental suffering) and punitive damages for malicious

       intent.

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                                                       COUNT 3
               Violation of the Colorado Consumer Protection Act (CCPA)
                                  C.R.S. §6-1-101, et seq.
                                                C.R.C.P. Rule 9(b)

   95. Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.


   96. The Defendant has engaged in unfair and deceptive trade practices. These deceptions

       occurred during the course of the Defendant(s) regular business practices and significantly

       impacts the public, even into the millions of both actual and potential consumers. The

       Plaintiff has suffered injury in fact to legally protected interests (Intellectual Property and

       Trade Secrets) along with other damages.(in particular & not limited to C.R.S. 6-1-105(1)(h))


   97. Plaintiff     incorporates     the    factual     allegations     in      COUNT       1    FRAUDULENT

       MISREPRESENTATION as evidence of violation of the CCPA.


   98. Plaintiff     incorporates     the    factual    allegations     in    COUNT      2       TRADE     SECRET

       MISAPPROPRIATION as evidence of violation of the CCPA.


   99. Plaintiff incorporates the factual allegations in COUNT 4 CIVIL CONSPIRACY as evidence of

       violation of the CCPA with assistance from others.

   100.    Plaintiff incorporates the factual allegations in COUNT 5 ABUSE OF PROCESS, and

       COUNT 6 MALICIOUS PROSECUTIONS as evidence of violation of the CCPA via abuse of

       the legal system.

   101.    Plaintiff incorporates the factual allegations in COUNT 7 DEFAMATION and COUNT 8

       HARASSMENT and COUNT 9 INTENTIONAL INTRUSION ON PRIVACY RIGHTS, as

       evidence of violation of the CCPA.

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   102.    The Defendant has disparaged the goods, services, property, and business of Plaintiff by

       making false and misleading representation of facts and misleading statements of fact

       concerning Ms. Montalbano and has disparaged her character, dream research, and work.



   FRAUDULENT MISREPRESENTATIONS IMPACT MILLIONS OF PEOPLE’S LIVES

   103.    The fraudulent misrepresentations by the defendant and his network of corrupt associates

       significantly impact millions of people’s lives in the general public who are regularly and

       repeatedly divested of their time, talents, and money in support of false ‘Dark Alliance’

       (Complaint ¶3) narratives, fake whistleblowers, and fake news, often presented as ‘secret

       insider’ intel or ‘ascension.’ (See attached Exhibit CH article by MJ Banias “UFO

       Conspiracy Theorists Offer ‘Ascension’ From Our Hell World for $333” about Wilcock and

       Goode peddling salvation and protection from the ‘illuminati deep state’ to millions on

       YouTube and garnering massive amounts of donations)



   FRAUDULENT MISREPRESENTATION TO DESTROY LEGITIMATE RESEARCHERS
   104.    Mr. Goode uses his public fraud and fake news stories to destroy the reputations of many

       other professionals in the same or similar field or trade of research as himself to include (but

       not limited to) the following public figures: Jirka Rysavy (CEO Gaia Inc), Jay Weidner,

       Jimmy Church, Dark Journalist, Clif High, CW Chanter (aka Benjamin Zavodnick), Richard

       Dolan, Linda M Howe, and Bill Ryan. Mr. Goode also uses his fraud to destroy the lives of

       private individuals aware of his fraud and publicly exposing him with public evidence like

       Ms. Montalbano and Stina Bobina (aka Christina Ferrante, a witness willing to testify)

       (See Exhibit CN Goode’s fraudulent misrepresentation list of ‘Dark Alliance’ and ‘stalkers’)

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   CULT TEACHINGS AND PRACTICES

   105.    Mr. Goode is heavily promoted by Mr. Wilcock to millions of people. They use their

       false public ‘alien god’ teachings and destruction of the world claims to garner illicit

       donations and enrollment of students in their false ‘ascension’ courses as the alleged solution

       that will save the public from destruction by ‘ascension.’(See Exhibit CH at p2)


   106.    Mr. Goode and Mr. Wilcock operate their deceptive trade practices like a cult, where

       Mr. Goode and Mr. Wilcock hold themselves up as gods or connected with gods and ancient

       god lineages. (See attached Exhibit CH at: p2, p4, p6)


   107.    Mr. Goode falsely claims he is Enoch (from the Bible) reincarnated and that his ‘alien’

       ‘Blue Avian’ (BLUEBIRD) god ‘Ra Tear Eir’ (RA) told him this. (Exhibit CH, p4)


   108.    Mr. Goode and Mr. Wilcock’s ‘ascension’ cult is based on telling millions of people Fake

       News, providing fake whistleblowers, fake disclosure, and publicly destroying legitimate

       researchers’ personal and professional lives in the same or similar trades and professions, like

       Ms. Montalbano, and whom they also often first steal legitimate work from and claim as their

       own research, discoveries, or ‘secret insider intel.’ (See attached Exhibit CH at p7, p8, p9;

       and Exhibit CQ fake whistleblower Pete Peterson Go Fund Me scam promoted by Goode and

       Wilcock)

   109.    Mr. Goode participates in telling outlandish stories to millions of people to fraudulently

       garner: sympathy, illicit donations, time, and resources, from the public, such as were

       mistakenly donated and given by Ms. Montalbano during 2017, under these same pretenses.

       (See attached Exhibits: CH at p9; and Exhibit CI ‘Light Warrior Legal Fund’; and Exhibit

       CJ donation by Montalbano November 2017 to Goode)

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  110.    People who question or expose Mr. Goode and his corrupt associates’ deceptive trade

      practices, cult teachings, and false narratives are Targeted and publicly defamed as part of the

      ‘evil’ factions Mr. Goode is fighting and that he terms as “stalkers,” “cyberstalkers,” “Dark

      Alliance,” “cabal,” or similar criminal defamatory terms and he and his associates proceed to

      harass and defame the Target, while asking the general public for donations to support these

      amoral behaviors. (See attached Exhibit CH p7, p8, p9; and Exhibit CI Light Warrior Legal

      Fund; and Exhibit CN Goode’s YouTube Targeted Individuals list; and Exhibit CO Twitter

      Targeting threat by Goode)

  DAMAGES

  111.    Based upon the facts of Violation of the Colorado Consumer Protection Act, Fraudulent

      Misrepresentation, Trade Secret Misappropriation, Civil Conspiracy, Abuse of Process,

      Malicious Prosecutions, Defamation, Harassment, and Intentional Intrusion On Privacy

      Rights, Plaintiff believes she is entitled to recover damages based upon the foregoing act

      Violation of the Colorado Consumer Protection Act; to include actual damages, punitive

      damages, and attorney/legal fees.

                                                       COUNT 4
                                              CIVIL CONSPIRACY


  112.    Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.


  113.    The Defendant, James Corey Goode, worked with one or more people to accomplish his

      unlawful objectives of converting Plaintiff’s Intellectual Property and Trade Secret materials

      and performed harassment and defamation against Plaintiff. These people were in mutual

      agreement over the course of action and they intentionally and unlawfully acted together to


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      promote Mr. Goode’s fraud and caused damages to Plaintiff. The following acts are being

      attributed to Mr. Goode for remedy and relief because he spearheads the public fraud and he

      received the misappropriated Trade Secret materials.


  114.    Mr. Goode works closely with Mr. David Wilcock, a public figure, to disseminate his

      fraudulent public narratives to millions of people globally and are broadcast to Mesa County.


  115.     Mr. Goode works with Texas based attorney, Ms. Wilde, as part of his Civil Conspiracy

      to maintain his public frauds and schemes through Abuse of Process and Malicious

      Prosecutions (also known as Color of Law) for all the reasons stated in COUNT 5 ABUSE OF

      PROCESS and COUNT 6 MALICIOUS PROSECUTIONS.


  116.    Mr. Goode works with Florida base attorney, Ms. Liz Lorie, as part of his Civil

      Conspiracy to maintain his public frauds and schemes through Abuse of Process (also known

      as Color of Law) for the reasons stated in COUNT 5 ABUSE OF PROCESS at ¶138.


  117.    During 2017 Mr. Goode, and his associates, employed romantic organized cyberstalking

      (Ruse De Guerre) of Plaintiff and used many public ‘synchronistic’ methods to covertly

      communicate with Plaintiff by internet posts and video uploads. (See Exhibit PLAC

      examples at No.           3-7 Teresa Yanaros (Mr. Goode’s counsel, Ms. Wilde’s sister)

      disseminating Plaintiffs Dream Vision information as if actual news about an ET exchange

      program; at No. 3-8 Dr. Michael Salla allegedly providing images of square ships from a

      ‘secret insider’ and thereby disseminating Ms. Montalbano Dream Vision IP experience of

      square spaceships as if actual news.)




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  118.    Mr. Goode worked directly or indirectly with Mr. Pete Peterson, (since diseased) to

      disseminate Ms. Montalbano’s information on Cosmic Disclosure on or about

      August 1, 2017, and later Mr. Goode worked to promote his associate Mr. David Wilcock’s

      Go Fund Me scam for Pete Peterson on August 19, 2017. (See Attached Exhibit CQ Pete

      Peterson Go Fund Me Scam; and See Exhibit PLAC at No.3-27 Peterson disseminating.

      Plaintiff’s Dream Vision IP info as though his own ‘secret insider intel’ and as if actual news

      about Draco Reptilians)


  119.    Mr. Goode worked/works with World-Renowned Remote Viewing and Influencing

      Expert, Mr. Gerald O’Donnell (Complaint ¶22) to intelligence gather from Plaintiff. January

      1, 2018 Mr. O’Donnell had Plaintiff call him to discuss her Artificial Intelligence based

      Dream Visions.


  120.    Defendant worked with Mr. Roger Richards, February 2, 2018. Mr. Richards defamed

      plaintiff as a ‘security risk’ on the phone call and denied plaintiff attendance at defendant’s

      then event with Joan Ocean Company in Hawaii, where plaintiff planned to ask Mr. Goode

      directly about all he and his associates’ use of her materials and his repeat dream visits.


  121.    Defendant worked with associate Mr. Chuck Raymond to defame Plaintiff via a

      Facebook hate campaign. (See Exhibit AW filed August 2, 2019) Prior this hate campaign,

      Mr. Raymond was considered a friend-acquaintance of Ms. Montalbano’s and there had been

      no arguments of any kind between Ms. Montalbano or Mr. Raymond.


  122.    Defendant had associate Aaron Moriarity monitor and surveil Plaintiff and her Facebook

      posts. Plaintiff was not aware of Mr. Moriarity’s direct association with Mr. Goode until


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      Mr. Goode retweeted a tweet, February 2020, about Mr. Moriarity being associated with him

      to “spread the truth.” (See attached Exhibit CK)


  123.    Defendant worked with multiple internet associates of his on Twitter to harass and

      defame Ms. Montalbano and forward his fraudulent misrepresentations during 2019.

      (See Exhibit AY filed August 2, 2019; and Exhibit AZ filed September 9, 2019)


  124.    Defendant worked with The Edge of Wonder channel YouTube hosts, Ben Chasteen and

      Rob Counts, to defame Ms. Montalbano to hundreds of thousands of people and to spread his

      false ‘alien’ narratives and fake news. (Complaint ¶194)


  125.    Upon information and belief, Mr. Goode works with one or more John or Jane Does, for

      the Central Intelligence Agency (CIA) or similar Intelligence interests (such as the DOD,

      DARPA, USAF), that assist in orchestrating his public frauds.


  126.    Upon information and belief, Mr. Goode works with one or more John or Jane Does for

      the United States Army or similar Intelligence interests, and in particular but not limited to,

      the Scientific Services Program (SSP) where neuroscience is heavily researched, and that

      they assist in orchestrating Mr. Goode’s public frauds.


  127.    Mr. Goode and his associates were and are in agreement to harm, harass, alarm, and

      destroy Plaintiff’s business and personal reputation.

  128.    These people are assisting Mr. Goode in order to help him maintain his public fraud, theft

      and unlawful use of Plaintiff’s Trade Secret materials, research and have taken overt actions

      to achieve these unlawful goals.



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  129.     Mr. Goode, Mr. Wilcock, and their network of complicit associates have been (mis)using

      and disseminating Plaintiff’s valuable Dream Vision IP materials, discoveries, and

      experiences as their own since 2017 for their own public acclaim, frauds, donation schemes,

      production of ‘fake news,’ tracking actual news, and for illicit and unethical profiteering and

      to the continued detriment of Plaintiff.

  130.    Ms. Montalbano has suffered severe personal and professional damages to her reputation

      and business, due to Mr. Goode and his associates’ fraud, harassment, and defamation

      activities for over three (3) years.

      REMEDY

  131.    Based upon the facts of Civil Conspiracy, Fraudulent Misrepresentation, Trade Secret

      Misappropriation, Violation of the Colorado Consumer Protection Act, Abuse of Process,

      Malicious Prosecution, Defamation, Harassment, Intentional Intrusion On Privacy Rights,

      Intentional Infliction of Emotional Distress, Unjust Enrichment, the Plaintiff believes she is

      entitled to recover damages based upon the foregoing act of Civil Conspiracy within these

      derivative claims.


                                                   Count 5
                                                Abuse of Process

  132.    Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.


  133.    Defendant, James Corey Goode, displayed ulterior motive in the use of judicial

      proceedings, as evidenced by his motive to improperly acquire an advantage over Plaintiff.

      (See Exhibit CE filed March 19, 2020, Case 18CV50 Timeline Key Events)


  134.    Incident to his ulterior motive, defendant filed or attempted to file the following:

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  DEFENDANT FAILED BROOMFIELD STALKING CLAIM Mid-June 2018

  135.    About June 15, 2018 defendant and his Texas based counsel, Ms. Wilde, attempted to file

      a case in the Broomfield Combined Courts alleging stalking against Ms. Montalbano and

      their case was rejected as it was baseless and failed to meet the requirements.

  DEFENDANT FAILED BROOMFIELD STALKING CASE 18C103 July 2018 – Aug 2018

  136.    July 17, 2018 the defendant filed case number 18C103 with the Broomfield Combined

      Courts and in that case the defendant did the following willful acts that are not proper in the

      regular conduct of a lawsuit: (See Exhibits with Motion to Impose Sanctions filed December

      11, 2018: Broomfield Register of Actions and Exhibit A and B of case dismissal and closed

      in Ms. Montalbano’s favor)

          A. Mr. Goode and his Texas based counsel, Ms. Wilde, Failed to serve the summon.

          B. Withheld the case till only the day prior the hearing, located 5 hours away.

          C. Obtained a Temporary Protection Order against Ms. Montalbano with fabricated

              evidence.

          D. Mr. Goode claimed Plaintiff called him all the time when she doesn’t have his phone

              number.

          E. Mr. Goode perjured himself by checked the box he was unaware of his own lifelong

              stalking protection order with his former employer, Darling International.

              (See Exhibit filed December 27, 2018 Broomfield Case 18C103; and See Exhibit

              filed December 11, 2018 Amended Grievance Exhibit C; and Exhibit BP filed

              February 21, 2020, Darling v Goode, District Court Dallas County, DC-14-04807)

          F. Mr. Goode’s TRO against Ms. Montalbano was vacated at the July 24, 2018 1 st

              hearing. Mr. Goode was ordered to retain legitimate Colorado legal counsel


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              (Ms. Wilde did not qualify). Mr. Goode alleged he’d have his then associate Mr.

              Roger Richards testify against Ms. Montalbano and the TRO order was reinstated.

              Ms. Montalbano Vi Coactus signed it and the case was continued to August 6, 2018.


           G. Ms. Montalbano retained legal counsel and appeared at the 2nd hearing,

              August 6, 2018. The Broomfield TRO was vacated again and the case dismissed in

              Ms. Montalbano’s favor, when Mr. Goode, any proper legal counsel on his behalf, or

              witness on his behalf, failed to appear for the continuance hearing he requested and

              Mr. Goode was instead in the state of Texas.


  DEFENDANT FAILED DENVER FEDERAL COURT REMOVAL – FAKE COMPLAINT
  Aug 2018-Dec2018
  137.     August 13, 2018 the defendant and his Texas based counsel, Ms. Wilde, removed this

      instant case to the Denver Federal Court, with case number 1:18-cv-02060-RM-GPG and in

      that case the defendant did the following willful acts that are not proper in the regular

      conduct of a lawsuit:

      A.      Mr. Goode and Ms. Wilde ‘removed’ this instance case to the Denver Federal Court

              alleging Federal statutes were invoked and did not file the PLAC (77pgs), or the

              documents filed this court record June 25, 2018 as the Complaint (60pgs), and instead

              filed a Fake Complaint (7pages) with no statutes cited, on the Denver Federal Court

              Record at Docket 26. (See Exhibits filed December 11, 2018: Amended Grievance

              and its Exhibit H; and Motion to Impose Sanctions Exhibit Fake Complaint)

      B.      Failed to confer or inform Plaintiff of the removal.

      C.      Filed a fake register of actions. (See Exhibit F of Docket 14 filed December 11, 2018

              with Amended Grievance exhibit)


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      D.      Filed non-stamped court filed documents that mislead the presiding officers to think

              their Broomfield stalking case, 18C103, was still pending when it had in fact been

              dismissed in Ms. Montalbano’s favor.

      E.      Failed to serve copies of documents they filed on the court record.

  DEFENDANT FLORIDA COUNSEL FAKE LAW FIRM ADDRESS Dec 2019

  138.     December 2019, Mr. Goode obtained legal assistance from a Florida based attorney,

      Ms. Liz Lorie, who harassed a witness, Ms. Ferrante, by email, on behalf of Mr. Goode and

      his associate Mr. David Wilcock, and Ms. Lorie provided a fake law firm address for legal

      communication. (See Exhibit CB filed March 19, 2020)


  DEFENDANT FAILED BROOMFIELD STALKING CASE 20C32 Mar 2020-Jun 2020

  139.     March 11, 2020 the defendant, again with Ms. Wilde’s help, filed case 20C32 in the

      Broomfield Combined Courts that was administratively closed June 22, 2020 in

      Ms. Montalbano’s favor; and in that case the defendant did the following willful acts that are

      not proper in the regular conduct of a lawsuit: (See Exhibit CG filed March 19, 2020)

      A.      Fabricated more evidence to try again for another baseless stalking claim.

      B.      Ignored the doctrine of Res Judicata and alleged stalking for the same reasons stated

              July 17, 2018 and as dismissed in Ms. Montalbano favor August 6, 2018.

      C.      Mr. Goode again perjured himself denying his own lifelong stalking protection order.

      D.      Again lied Plaintiff phoned him all the time when she still doesn’t have his number.

      E.      The defendant and his counsel, Ms. Wilde, filed the same papers on two separate

              Court Records and cases at the same time to try again for fraudulent stalking charges

              against Ms. Montalbano. (Broomfield Combined Court case 20C32 and USDC

              Denver Federal case 1:20-cv-00742-RBJ)

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      F.      They failed to notice the Broomfield Combined Court of their similar case, evidence,

              and claims filed in the USDC Denver Federal Court.


  PENDING USDC DENVER FEDERAL COURT CASE 1:20-cv-00742-RBJ Mar 2020

  140.     March 17, 2020 the defendant with Ms. Wilde’s help filed pending case

      1:20-cv-00742-RBJ in the United State District Civil Denver Federal Court; and in that case

      the defendant did the following willful acts that are not proper in the regular conduct of a

      lawsuit:

      A.      Filed a RICO claim after the statute of limitations.

      B.      Made 16 baseless claims against Ms. Montalbano, his former employer Gaia Inc, and

              three (3) other defendants, and whereby their ‘evidence’ was nothing more than

              conclusory pronouncements.

      C.      Claims were “Shotgun” and “group” plead.


      D.      They failed in every legal way to file a plausible claim of any kind. Gaia Inc.’s New

              York Lawyers, Davis & Gilbert LLP, wrote a 65 page Memorandum of Law filed at

              Docket 17, with (six) 6 pages of cited case law, showing the many legal failures in

              every claim of Mr. Goode and his Counsel, Ms. Wilde’s, Complaint; revealing the

              mal intent of the case and claims, and asked the Federal Court to sanction them.


      E.      They filed the same papers on the Federal Court record as in the Broomfield case,

              20C32 (March 11, 2020) and administratively closed in Ms. Montalbano’s favor.


      F.      Ms. Wilde failed to notify the Federal Court of their then pending Broomfield case

              20C32 and their same stalking claims and same evidence filed on both Court Records.


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  141.    In all the aforementioned cases, Ms. Wilde and Mr. Goode did not properly notify any of

      the courts of this related instant case (when applicable) or any of their own related cases.

  DAMAGES AND RELIEF

  142.    Ms. Montalbano was damaged financially, having to retain legal counsel and defend

      against multiple vexatious cases.


  143.    Ms. Montalbano has been damaged by having to invest most all her time,

      for two (2) years, addressing baseless lawsuit after lawsuit opened by the Defendant and his

      improper Texas based counsel, Ms. Wilde, and researching the law(s).


  144.    Ms. Montalbano’s personal and professional reputation have and continue to be damaged

      by the ongoing harassment and libel and slander Mr. Goode performs via Abuse of Process

      on multiple court records with his declaratory pronouncements that have no basis in the law.


  145.    Ms. Montalbano has been damaged emotionally, having to endure enormous amounts of

      anxiety, stress, and depression due to these repeat vexatious, malicious, and baseless cases.


  146.    Ms. Montalbano’s sleep cycles have been interrupted along with her dream recall, which

      is crucial to her profession of predicative dream research.


  147.    Ms. Montalbano’s personal life has been severely impacted as she cannot enjoy spending

      time with her family or friends, or enjoy regular daily life, due to dealing with these many

      malicious and vexatious cases.

  148.    Ms. Montalbano’s professional life as an artist and author has been damaged as

      professional associates don’t want to work with Ms. Montalbano for fear of their own safety,

      their family’s safety, lawsuits, or fear of public defamation and harassment.

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  149.    Plaintiff will prove these actions lacked a reasonable factual or cognizable basis in law.


  150.    Based upon the facts of Abuse of Process, Fraudulent Misrepresentation, Trade Secret

      Misappropriation, Violation of the Colorado Consumer Protection Act, Civil Conspiracy,

      Malicious Prosecution, Defamation, Harassment, Intentional Intrusion On Privacy Rights,

      Intentional Infliction of Emotional Distress, and Unjust Enrichment, the Plaintiff believes she

      is entitled to Injunctive Relief and to recover damages based upon the forgoing acts of Abuse

      of Process; to include actual damages proximately caused as a result of the proceedings,

      emotional distress, humiliation, injury to reputation, loss of time and business, attorney/legal

      fees, and punitive damages.


                                          COUNT 6
                                   MALICIOUS PROSECUTIONS

  151.    Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.

  152.    The Defendant, James Corey Goode, was party to multiple actions against Plaintiff that

      were resolved in Plaintiff’s favor. There was no probable cause for the actions and the

      Defendant lacked either a reasonable or good faith belief that the actions would be successful

      or were warranted in any way. The actions were brought with malice and improper motives

      and Plaintiff suffered damages as a result.


  153.    Plaintiff sets forth the allegations from COUNT 5 ABUSE OF PROCESS herein as

      evidence of Malicious Prosecutions.


  154.    The 1st failed Broomfield stalking case (mid-June 2018) was a Malicious Prosecution

      effort.(Complaint ¶135)


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  155.    The 2nd failed Broomfield stalking case claim (July 17, 2018 thru August 6, 2018) was a

      Malicious Prosecution case. (Complaint ¶136 and ¶141)


  156.    The removal of this instant case to the Denver Federal Court August 13, 2018 thru

      December 3, 2018 remand and filing a fake complaint, was a malicious act. (Complaint ¶137

      and ¶141)


  157.    The 3rd failed Broomfield stalking case claim (March 11, 2020 thru June 22,2020) was a

      Malicious Prosecution case. (Complaint ¶139 and ¶141)


  158.    Upon information and belief, the pending USDC Denver Federal RICO and Trademark

      infringement case is a Malicious Prosecution case. (Complaint ¶¶140-141)


  159.    Upon information and belief, all five (5) of these opposing party case filing efforts, to

      obtain stalking protection orders or stalking judgments against Ms. Montalbano, were

      performed maliciously and constitute Malicious Prosecutions and violation of the Colorado

      Codes of Professional Conduct and of Plaintiff’s civil rights.



  DAMAGES AND INJUNCTIVE RELIEF


  160.    Ms. Montalbano has been severely personally, professionally, financially and emotionally

      damaged by all these ongoing malicious case efforts.


  161.    Ms. Montalbano suffers severe anxiety anytime the doorbell rings thinking it’s going to

      be another process server for another malicious case by opposing party.




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  162.    Ms. Montalbano has suffered severe interference with her professional life and art career

      since April 18, 2018, having to spend the last two (2) years being her own full time lawyer

      and paying for what legal counsel she can afford along the way.


  163.    Ms. Montalbano’s business Ari Stone Art LLC has suffered severely and is on the brink

      of closing due to having to spend all her time and resources on defending herself legally and

      spending all her time researching the law for well over (2) years instead of promoting her art

      and building professional relationships and consumer goodwill.


  164.    Ms. Montalbano’s publishing business through Ari Stone Art LLC has suffered severely

      as she has not been able to invest her time and resources into promoting her award winning

      book “Dreams The Missing Text” and has not been able to spend time writing business

      proposals for major book distributors or film producers, due to having to spend all her time

      researching the law and defending against these many and varied malicious cases.


  165.    Ms. Montalbano’s family life has suffered as she has little to no time to spend with her

      daughter or enjoy regular life activities or social activities.


  166.    Ms. Montalbano’s physical health has suffered due to lack of time or energy to exercise

      or workout and minimal motivation to eat healthy as she is too depressed and stressed.


  167.    Ms. Montalbano’s sleep cycles and dream recall are regularly impacted due to the stress

      and strain of having to deal with many malicious cases and her sleep cycles and recordation

      of dreams are tantamount to her profession of dream research.




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  168.    Based upon the facts of Malicious Prosecution, Fraudulent Misrepresentation, Trade

      Secret Misappropriation,          Violation of the Colorado Consumer Protection Act, Civil

      Conspiracy, Abuse of Process, Defamation, Harassment, Intentional Intrusion On Privacy

      Rights, Intentional Infliction of Emotional Distress, and Unjust Enrichment, the Plaintiff

      believes she is entitled to Injunctive Relief and to recover damages based upon the forgoing

      acts of Malicious Prosecution; to include actual damages proximately caused as a result of

      the proceedings, emotional distress, humiliation, injury to reputation, loss of time and

      business, attorney/legal fees, and punitive damages.


                                                         COUNT 7
                                           DEFAMATION CRS 13-80-103

  169.    Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.

  170.    Plaintiff incorporates the allegations in COUNT 1 FRAUDULENT MISREPRESENTATION

      as evidence of Defamation.

  171.    Plaintiff incorporates the allegations in COUNT 3 VIOLATION OF THE COLORADO

      CONSUMER PROTECTION ACT as evidence of Defamation to destroy Plaintiff’s public

      reputation and business to millions of people through deceptive trade practices.


  172.    Plaintiff incorporates the allegations in COUNT 4 CIVIL CONSPIRACY as evidence the

      defendant works with others to perform Defamation.


  173.    Plaintiff incorporates the allegations in COUNT 5 ABUSE OF PROCESS and COUNT 6

      MALICIOUS PROSECUTIONS as evidence of defamation via abuse of the legal system.

  174.    Plaintiff incorporates the allegations in COUNT 8 HARASSMENT as evidence of

      defamation to provoke a violent or disorderly response.

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  175.    Plaintiff incorporates the allegations in COUNT 9 INTENTIONAL INTRUSION ON

      PRIVACY RIGHTS as evidence of defamation by releasing private information publicly.


  176.    Mr. Goode has defamed Plaintiff to a third party, intentionally, negligently, or with

      reckless disregard of the truth and has made false public statements about Plaintiff accusing

      her of criminal acts (stalking), sexual misconduct (as someone having an extramarital affair

      with him), someone with a mental disease (crazy, insane, delusional), and regularly and

      repeatedly publicly defames Plaintiff in her trade and profession as a dream researcher with

      the same, via libel and slander notably overtly since February 2, 2018 and notably publicly

      escalated July 17, 2018 through to current.


  177.    This defamation disparages and embarrasses Ms. Montalbano as someone sexually

      amoral and as a criminal, and destroys her reputation within the same trade and profession

      that Mr. Goode is involved in, dreams and dream research.


  178.    Mr. Goode defames Ms. Montalbano to maintain his public fraud and unlawful use of

      Ms. Montalbano’s misappropriated Trade Secret materials.


  179.    During 2018 through to current, Mr. Goode has publically defamed Plaintiff as a

      murderer, rapist, pedophile, Satanist, human trafficker, cult practitioner, and cabal by

      labeling her with the term “Dark Alliance.” (Complaint ¶3)

  180.    Mr. Goode has defamed Plaintiff in her profession and trade, via (but not limited to):

      Facebook, Twitter, YouTube, and Reddit. Reaching hundreds of thousands and even

      potentially millions of people with his fraudulent misrepresentations.



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  DEFAMATION IN TRADE, BUSINESS, AND PROFESSION – EMAIL and PHONE

  181.    Mr. Goode defamed Ms. Montalbano as a criminal (stalker) to a mutual Gaia Inc. contact,

      Ms. Medvedich, on June 5, 2018. (See Exhibit AR filed August 2, 2019 email from

      Defendant to Medvedich defaming Plaintiff as a stalker)


  182.    Mr. Goode had Plaintiff contact by phone his then business associates Mr. Roger

      Richards February 2, 2018. (Goode is now suing Richards in USDC case 20-cv-00947-STV)

      Mr. Richards defamed Plaintiff as ‘security risk’ during the call and denied plaintiff

      attendance at Mr. Goode’s then coming event with Joan Ocean Company in Hawaii, where

      plaintiff planned to ask Mr. Goode directly about all his use of her materials and dream visits.


  INTERNET DEFAMATION

    FACEBOOK DEFAMATION

  183.    Mr. Goode defamed Plaintiff as a stalker by direct implication on his Facebook page

      @BlueAvians on July 17, 2018 (the same date he opened the stalking claim in Broomfield

      Combined court, 18C103), with approximately 100,000 page followers by telling his fans he

      had to obtain a Protection Order. Mr. Goode also threatened future defamation of Plaintiff by

      stating he ‘hoped to make more public statements in the near future’ and since then he has

      proceeded to do so. (See Exhibit AM filed March 25, 2019; and Exhibit AS on August 2,

      2109 of July 17, 2018 Facebook defamation)


  184.    March 17, 2019, Mr. Goode’s Facebook friend and business associate Mr. Chuck

      Raymond defamed Plaintiff as someone sexually amoral stating Plaintiff claims to have sex

      with Mr. Goode in his dreams. Plaintiff never told Mr. Raymond that and had not made any

      public statements of having sex with Mr. Goode either, that was private information
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      contained in the emails delivered to Mr. Goode. (See Exhibit AP filed March 25, 2019; and

      Exhibit AW filed August 2, 2019)


  185.    Mr. Raymond went on to defame Plaintiff on Facebook in her trade of dream research by

      stating Plaintiff is crazy (mentally diseased) thinking she foresees the future, when this is

      what his associates Mr. Goode and Mr. Wilcock are publicly famous for, being alleged

      dream psychics or prophets (with no evidence of their claims for years). (See Exhibit AP

      filed March 25, 2019; and Exhibit AW filed August 2, 2019)


  186.    March 20, 2019 Mr. Goode posted to associate Mr. Chuck Raymond’s defamatory

      Facebook post and cited the stalking case he lost August 6, 2018 and included Plaintiff’s

      actual name with his “(Montalbano vs Goode)” making it clear he is defaming Plaintiff as a

      stalker. Defendant then escalated Plaintiff to be part of his public fantasy “Dark Alliance”

      (Complaint ¶3) and points out he also defamed Plaintiff live on the Edge Of Wonder

      YouTube channel. (Complaint ¶194; and See Exhibit AP filed March 25, 2019)


    REDDIT DEFAMATION

  187.    https://www.reddit.com/r/CosmicDisclosure/comments/9xujtc/cg_being_sued_for_fraudi

      nfringement_poster_on/ (Retrieved June 27, 2019) (See Exhibit AO filed March 25, 2019;

      and Exhibit AU filed August 2, 2019)


  188.    On or about November 18, 2018 Mr. Goode posted on Reddit internet website with

      “Cosmic Disclosure” user handle seen in the URL, that Plaintiff is a stalker, someone with a

      mental disease, and that he’s going to report these behaviors to law enforcement (criminal)

      and proceeds to defame Plaintiff as someone sexually amoral having an extramarital affair


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      with him and he refers to the December 16, 2017 marriage Dream Vision code (Trade Secret

      IP), that he is not authorized to disclose. Mr. Goode further defames Plaintiff in her trade of

      dream research as being ‘delusional’, for having accurate Dream Visions that showed

      Plaintiff knew (via tangible evidence) what Mr. Goode and his attorney, Ms. Wilde, were up

      to before they did the acts in waking states. (See Exhibits: AO, and Exhibit AN filed March

      25, 2019 – email to Ms. Wilde of prior documented Dream Visions showing how plaintiff

      knew what they were up to before they did the acts in waking states)


  189.    Mr. Goode threatened to release Ms. Montalbano’s (Trade Secret) emails, and the

      February 2, 2018 recorded private phone call with his then associate, Mr. Roger Richards;

      which would be extremely embarrassing for Ms. Montalbano. (See Exhibit AU filed August

      2, 2019 Goode threatens to release emails and recorded phone call)

    TWITTER DEFAMATION
  190.    See Exhibit AY filed August 2, 2019 Twitter Defamation campaign;

          and See Exhibit AZ filed September 9, 2019 Twitter Defamation

          and See Exhibit CO Twitter defamation in 2020

  191.    About May 22, 2019 through June 19, 2019 on Mr. Goode’s Twitter account

      @CoreyGoode with approximately 23,000 followers; Mr. Goode and a group of his

      organized cyberstalkers, bullied, harassed, and defamed Plaintiff publically as a stalker,

      cyber stalker, “Dark Alliance,” (Complaint ¶3) someone sexually amoral having an

      extramarital affair with Mr. Goode, someone with a mental disease, and again defame

      Plaintiff in her trade of dream research and directs his audience to his November 2018 Reddit

      hate campaign. (Exhibits AY and AZ)




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  192.    On February 19, 2020 Mr. Goode tweeted a link to his YouTube defamation video and

      defamed Ms. Montalbano as a cyberstalker and “Dark Alliance.” (Complaint ¶3 and See

      attached Exhibit CO)


  193.    On or about February 27, 2020 Mr. Goode publicly stated he is ‘directly targeting’ each

      of the ‘bad actors’ and he then hashtags it #DarkAlliance and #cyberstalking. Revealing he

      is knowingly targeting Ms. Montalbano with his defamation and hate campaigns.

      (See attached Exhibit CO)

    YOUTUBE DEFAMATION
  194.    March 18, 2019 Mr. Goode on YouTube channel “Edge of Wonder” with approximately

      372,000 subscribers (retrieved July 21, 2019) indirectly defamed Plaintiff as a stalker,

      someone sexually harassing him, and defamed Plaintiff in her trade of Dream Research by

      again citing the December 16, 2017 marriage dream, in YouTube video titled, “Corey Goode

      - Alliance Update, Antarctica, Supreme Brand Loves Satan - Edge of Wonder #3.” and

      approximately 193,000 views (retrieved July 21, 2019). (times stamps; 1:39:00 to 1:43:00)


  195.    February 25, 2020 Mr. Goode posted to his “Corey Goode” YouTube account a video

      titled “ALYSSA CHRYSTIE MONTALBANO aka Ari Stone vs. COREY GOODE” with a

      write up below the video calling Ms. Montalbano a stalker. (sic):


           “Alleged cyber-stalker ALYSSA CHRYSTIE MONTALBANO aka @AriStone has worked

          with the #Dark Alliance Jay Weidner . . . .” (See attached Exhibit CM)

  196.    On March 2, 2020 Mr. Goode posted a short 30 second video to YouTube on his

      “Corey Goode” YouTube Account with 4.79K subscribers a video titled “Corey Goode –

      Litigation Agreement Signed – Jay Weidner – Gaia TV – Law Suits incoming” with 4,814

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      views (retrieved June 21, 2020) and where he says nothing but is signing papers. In the

      description box below he defames Ms. Montalbano as an “alleged stalker” directly by name

      and her artist name of Ari Stone, when it is clear Ms. Montalbano does not even qualify as

      “alleged” stalker as he lost his case and claim in the Broomfield Combined Courts,

      mid-June 2018, August 6, 2018 (18C103), and again June 22, 2020 (20C32). (See attached

      Exhibit CN – YouTube stalker and criminal defamation)


  DAMAGES AND INJUNCTIVE RELIEF

  197.    It is self-evident, the Defendant, James Corey Goode, will continue to escalate his

      defamation and harassment activities of Plaintiff unless the court orders him to stop.


  198.    Plaintiff has sustained significant personal, financial, and profession damages for over

      three (3) years due to these defamation acts, to include loss of opportunities, friendships, and

      professional relationships.


  199.    Mr. Goode has been consistently destroying Ms. Montalbano’s personal and professional

      reputation, career and life with his public hate and defamation campaigns heard by hundreds

      of thousands, and even millions of people, and they are humiliating and cause enormous

      amounts of distress, anxiety, and ongoing depression in Plaintiff.


  200.    Injunctive Relief is warranted to stop and prevent further escalation of the defendant’s

      public and private hate and defamation campaigns against the plaintiff.



  201.    Based upon the facts of Defamation, Fraudulent Misrepresentation, Trade Secret

      Misappropriation, Violation of the Colorado Consumer Protection Act, Civil Conspiracy,


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      Abuse of Process, Malicious Prosecution, Harassment, Intentional Intrusion On Privacy

      Rights, Intentional Infliction of Emotional Distress, and Unjust Enrichment, the Plaintiff

      believes she is entitled to Injunctive Relief and to recover damages based upon the foregoing

      acts of Defamation; to include compensation for harm to Plaintiff’s reputation, personal

      humiliation, mental or physical suffering, and loss of income.


                                                         COUNT 8
                      Colorado Harassment Law “Kiana Arellano’s Law” – CRS 18-9-111

  202.    Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.


  203.    Plaintiff      incorporates      the     allegations      from        COUNT   1   FRAUDULENT

      MISREPRESENTATION; COUNT 3 VIOLATION OF THE COLORADO CONSUMER

      PROTECTION ACT; and COUNT 4 CIVIL CONSPIRACY as evidence of public harassment.


  204.    Plaintiff incorporates the allegations from COUNT 5 ABUSE OF PROCESS and COUNT 6

      MALICIOUS PROSECUTIONS as evidence of harassment via the court systems.


  205.    Plaintiff incorporates the allegations from COUNT 7 DEFAMATION and COUNT 9

      INTENTIONAL INTRUSION ON PRIVACY RIGHTS as evidence of Harassment.


  SURVEILLANCE THEN HARASSMENT
  206.    The Defendant, Mr. Goode has engaged in Harassing Plaintiff via organized public

      cyberstalking and cyberbullying. He and his internet associates directed knowingly obscene

      language and false criminal accusation at Plaintiff via the internet to include but not limited

      to: Facebook, Twitter, YouTube, and Reddit. They cyberbullied and harassed Plaintiff and

      repeatedly threatened and insulted Plaintiff as a criminal, someone mentally diseased, or


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      sexually amoral in her trade and profession, in efforts to provoke a violent or disorderly

      response. Mr. Goode has also harassed and bullied Plaintiff via the legal systems to provoke

      a violent or disorderly response through his repeat abuse of process.


  207.    Notably since Mr. Goode’s July 17, 2018 Facebook post and fraudulent Broomfield

      Temporary Stalking Protection Order case opened the same day (July 17, 2018); Mr. Goode

      and his associates have repeatedly defamed Plaintiff publically as a stalker, someone sexually

      amoral having an extramarital affair with Mr. Goode, someone with a mental disease, and

      “Dark Alliance,” (murderer, rapist, pedophile, etc) to harass, annoy, and provoke

      Ms. Montalbano. (See Exhibit AO and AP filed February 27, 2019; and Exhibits AR, AS,

      AU, AW, and AY filed August 2, 2019; and attached Exhibits CL, CM, CN, and CO)


  208.    Mr. Goode has been repeatedly asked by Plaintiff to stop and he fails to do so and instead

      escalates his harassment acts against Ms. Montalbano.


  209.    Notably since the opening of this instant case June 25, 2018, Mr. Goode and his

      organized stalking associates have placed Plaintiff’s internet activities under constant

      surveillance and typically within days of Plaintiff posting anything about the lawsuit or

      related topics, Mr. Goode or one of his associates are immediately cyber harassing, cyber

      defaming, and/or cyber bullying Plaintiff.


  210.    Mr. Goode notably cyber stalked and then harassed Plaintiff after she posted on the

      ProjectAvalon.net forum about the lawsuit against him for fraud and theft, November 2018.

      Mr. Goode is not a member of the forum and has been banned from returning due to his

      prolific data mining of the website and members for stories, experiences, and information,


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      years ago. Approximately 2 days after Plaintiff posted on the ProjectAvalon forum,

      Mr. Goode, posted his Reddit defamation hate campaign. (See Exhibit AO filed March 25,

      2019 and Exhibit AU filed August 2, 2019)



  DAMAGES AND REMEDY


  211.    This ongoing harassment on and off court records is emotionally distressing, alarming,

      and is done to coerce Plaintiff to silence and drop charges.


  212.    Mr. Goode has regularly and continuously escalated his harassment and threats against

      Plaintiff. Injunctive Relief is warranted to stop and prevent further escalation of the

      defendant’s harassment activities against the plaintiff.



  213.    Based upon the facts of Harassment, Fraudulent Misrepresentation, Violation of the

      Colorado Consumer Protection Act, Civil Conspiracy, Abuse of Process, Malicious

      Prosecution, Defamation, Intentional Intrusion On Privacy Rights, Intentional Infliction of

      Emotional Distress, and Unjust Enrichment, the Plaintiff believe she is entitled to Injunctive

      Relief and to recover damages based upon the foregoing act of Harassment; to include

      damages for emotional distress and loss of reputation due to Defendant’s conduct and

      punitive damages.



                                            Count 9
                    Intentional Intrusion on Privacy Rights - DISCLOSURE

  214.    Plaintiff incorporates the General Allegations in ¶¶1-43 by reference.



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  215.    The defendant publicized and disclosed private information about the plaintiff to

      hundreds, thousands, and even hundreds of thousands of people in the general public via (but

      not limited to) YouTube, Twitter, Facebook, and Reddit, that placed plaintiff in a false light

      before the public and it was performed with malice as the information disclosed was not of

      legitimate public concern. Plaintiff has suffered mental anguish, shame, and humiliation

      beyond what an ordinary person should endure.


  216.    Plaintiff incorporates the allegations in COUNT 1 FRAUDULENT MISREPRESNATIONS

      and COUNT 3 VIOLATION OF COLORADO CONSUMER PROTECTION ACT as evidence of

      public disclosure of private information with malice.


  217.    Plaintiff incorporates the allegations in COUNT 7 DEFAMATION and COUNT 8

      HARASSMENT as evidence of public disclosure of private information with malice.


  218.    The defendant has publicly and repeatedly shared the private December 16, 2017 Dream

      Vision of Plaintiff’s where she experienced marrying Mr. Goode in a dream. The defendant

      also makes public statements about the sexual content of some of the Dream Visions.

      Mr. Goode has repeatedly uses this private information about plaintiff for the purpose of

      falsely representing her as someone sexually amoral to hundreds of thousands of people in

      the general public.


  219.    It is highly offensive and objectionable that Mr. Goode is using private dream

      experiences, privately shared with him, to publicly shame and embarrass Mr. Montalbano as

      someone sexually amoral, when the matter is not of legitimate public concern and that was

      never publicly discussed by Plaintiff.


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  220.    Mr. Goode is using this invasion of plaintiff’s privacy and false representations of her to

      advertise his fictional public narratives and gain fame, notoriety, and followers.


  221.    The defendant has also used the court system as a way to release Plaintiff’s private

      information publicly, to include her private place of residence and personal contact number

      (doxxing), as he does not redact the records. This is a danger to plaintiff as Mr. Goode’s

      followers can be violent due to their cult beliefs in Mr. Goode as a savior. (See Exhibit CP)


  222.    The defendant has threatened to release more of plaintiff’s private information publicly

      and plaintiff is reasonably concerned he will do so. (Complaint ¶183 and ¶189)


  223.    Injunctive Relief is warranted to stop and prevent further shaming and embarrassing of

      plaintiff through the defendant releasing private information about plaintiff publicly and that

      is not of legitimate public concern and that Mr. Goode is not authorized to publicly disclose

      and that places plaintiff at risk of being physically assaulted.


    DAMAGES AND REMEDY

  224. Based upon the facts of Intentional Intrusion on Privacy Rights, Fraudulent
      Misrepresentation, Trade Secret Misappropriation, Violation of the Colorado Consumer

      Protection Act, Civil Conspiracy, Defamation, Harassment, and Infliction of Emotional

      Distress, Unjust Enrichment, the Plaintiff believes she is entitled to Injunctive Relief and to

      recover damages based upon the foregoing acts of Intentional Intrusion on Privacy Rights; to

      include economic and non-economic losses arising from the conduct, for pain and suffering,

      and punitive damages.




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                                                    Count 10
                Intentional Infliction of Emotional Distress CRS 7-74-104(2)
  225.    Plaintiff hereby incorporates all allegations as set forth above as if set forth fully herein

      (Complaint ¶1-224) as evidence of Intentional Infliction of Emotional Distress

  226.    Defendant engaged in outrageous conduct with the intent to cause Plaintiff severe

      emotional distress and Plaintiff has suffered severe and ongoing emotional distress.

  DAMAGES AND REMEDY

  227.    Defendant and his Counsel, Ms. Wilde’s, repeat and ongoing abuse of process and filing

      multiple vexatious and malicious prosecution cases since June 2018 through to current are

      evidence of outrageous conduct used for Intentional Infliction of Emotional Distress upon the

      Plaintiff, and Plaintiff was and continues to be severely emotionally distressed by these.

  228.    Mr. Goode’s ongoing and repeat public defamation and harassment of Plaintiff as a

      criminal and someone sexually amoral in her trade and profession, for well over 2 years, is

      evidence of outrageous conduct used for Intentional Infliction of Emotional Distress upon

      Plaintiff, and Plaintiff was and continues to be severely emotionally distressed by these acts.

  229.    Injunctive Relief is warranted to stop and prevent further escalation of the defendant’s

      Intentional Infliction of Emotional Distress upon the plaintiff.

  230.    Based upon the facts of Intentional Infliction of Emotional Distress, Fraudulent

      Misrepresentation, Trade Secret Misappropriation, Violation of the Colorado Consumer

      Protection Act, Civil Conspiracy, Abuse of Process, Malicious Prosecution, Defamation,

      Harassment, Intentional Intrusion on Privacy Rights, and Unjust Enrichment, the Plaintiff

      believes she is entitled to Injunctive Relief and to recover damages based upon the foregoing

      acts of Intentional Infliction of Emotional Distress; to include economic and non-economic

      losses arising from the conduct, for pain and suffering, and punitive damages.
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                                                      COUNT 11
                                       UNJUST ENRICHMENT CRS 7-74-104
                                     See Lewis v. Lewis, 189 P.3d 1134 (Colo 2008)

  231.    Plaintiff hereby incorporates all allegations as set forth above as if set forth fully herein

      (Complaint ¶1-230)



  232.    For all the facts, reasons, and allegations stated prior, Mr. Goode and his associates are

      being Unjustly Enriched by Plaintiff’s Trade Secret materials and proprietary dream

      research, discoveries, work, and private information.


  DAMAGES AND REMEDY

  233.    The Defendant has and continues to benefit off of Plaintiff’s Trade Secret materials and

      continues to Unjustly Enrich himself by building his public fraud, narratives, and reputation

      off of Plaintiff’s Trade Secret materials, private information, and publicly destroying

      Plaintiff’s reputation. Mr. Goode received these benefits under circumstance of fraud that

      make it unjust for him to continue to maintain the benefit of such without commensurate

      compensation to Plaintiff.


  234.    Based upon the facts of Unjust Enrichment, Fraudulent Misrepresentation, Trade Secret

      Misappropriation, Violation of the Colorado Consumer Protection Act, Civil Conspiracy,

      Abuse of Process, Malicious Prosecution, Defamation, Harassment, Intentional Intrusion on

      Privacy Rights, and Intentional Infliction of Emotional Distress, the Plaintiff believes she is

      entitled to Injunctive Relief and to recover damages and punitive damages based upon the

      foregoing act of Unjust Enrichment.




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                                  COMPLAINT EXHIBIT LIST


  filed June 25, 2018

  Exhibit A – Notice of Written Correspondence dated April 18, 2018

  Exhibit B – Certificate of Service dated April 18, 2018

  Exhibit C – Courtesy Notice stop and Desist Use of Intellectual property and Copyrighted
              Materials with Intent to Litigate – AMENDED dated May 16, 2018

  Exhibit D – Notice of Fault in Dishonor (Opportunity to Cure) dated May 16, 2018

  Exhibit E – Notice of Default in Dishonor dated June 4, 2018

  Exhibit F – Relief Sought - Section 1, page 4 of 48, Pre-Litigation Affidavit Complaint (PLAC)

  Exhibit G – Sample (3 pages) from in PLAC – Derivative works and Wilcock involvement

  Exhibit H – Sample (5 pages) PLAC – Dream Vision foreseeing

  Exhibit I – Yanaros Law communication – not certified/frivolous dated June 5, 2018

  Exhibit J – Certificate of Service to Yanaros - Failure to lawfully respond dated June 11, 2018

  Exhibit K - Fines and Fees dated May 16, 2018



  filed July 3, 2018

  EXHBIT - Boulder County Sheriff’s Office Return of Unserved Civil Process Sheriff’s Case
           Number: C-18001458 dated June 27, 2018




  filed August 13, 2018

  Exhibit L – Grievance to Texas State Bar against Yanaros dated August 10, 2018

            -   List of Emails VYW and Ms. Montalbano June 5, 2018 to August 6, 2018
            -   USPS Certified Mailing docs to CG dated August 13, 2018




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  filed August 30, 2018

  Exhibit M – PLAC (49 pages) dated May 16, 2018

  Exhibit O – Federal Court 1st Motion for Remand (copy for state court)



  filed September 11, 2018

  Exhibit P – USPS Certified Mail Receipts and USPS tracking of PLAC to: Corey Goode,
              Jay Weidner, Jirka Rysavy all delivered to GAIA INC address dated April 18, 2018

  Exhibit Q – Case Order reassigning Federal case to Raymond P. Moore and Federal Court
              docket through docket 31 09/07/2018 with Docket 30 Fabricated Register of Actions
              highlighted

           -   USPS certified mail receipt dated September 11, 2018
           -   Federal Court Document 79 Order Remand granted dated December 3, 2018



  filed November 13, 2018

  EXHIBIT – Presumptive self-authenticating Pre-Litigation Affidavit Complaint Records (PLAC)
            (77 pages) as filed with Mesa CLERK AND RECORDER reception
            #2843230 dated June 7, 2018



  filed December 11, 2018

  EXHIBIT – Amended Grievance against Ms. Wilde dated December 5, 2018 (51 pages)

           -   Broomfield Register of actions 07/17/2018 to 08/06/2018 Case 18C103 Closed
           -   Exhibit A Order Denying CG motion for second continuance by Magistrate Russell
               dated August 6, 2018
           -   Exhibit B – CG Motion for Permanent Restraining Order Denied
           -   Exhibit C – Darling v Goode, Dallas County, Texas, District Court, PO Cause No
               14-04807 dated October 31, 2014
           -   Exhibit D – VYW Assault Charges Arlington Police Department
               Incident 2018-01990029
           -   Exhibit E – Order Closing Mesa Case dated November 27, 2018
           -   Exhibit F – Fabricated Register Action by VYW for Federal Court Docket 30 and
               the filing
           -   Exhibit G – Misleading Document – No Court Stamp – CG/VYWs “Reply to
               Plaintiff’s Response to Mr. Goode’s Motion to Dismiss for Failure to state a
               Complaint” AND my Objection to it


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           -   Exhibit H – Fake Complaint filed on Federal Court record by VYW (crossed out)
               and ACM November 13, 2018 amended version
           -   Exhibit J – Notice of Service failures on Federal Court Record at Docket 41 by
               ACM to notice VYW to serve papers filed
           -   Exhibit K- Order Remand granted from Denver Federal Court back to Mesa State
               Court

  EXHIBIT – CIA Russel Targ Remote Viewing program on CIA website www.cia.gov



  EXHIBITs Motion to Impose Sanctions

           -   Broomfield Register of Action Case 18C103 closed
           -   June 16, 2018 Failed 1st Stalking case email from VYW to ACM
           -   July 23, 2018 Email Notice only from VYW of Hearing July 24, 2018
           -   July 27, 2018 VYW Threatens Violation of PO due to mailing Mr. Goode Copies of
               court filings
           -   Federal Court Register of Actions- Docket 30 concocted Register of Actions
           -   Fake Complaint on Federal Court Record by VYW at Docket 26 filed
               August 13, 2018 (not crossed out)
           -   November 13, 2018 email from VYW to ACM about Motion for “No Contact” to
               keep Ms. Montalbano from serving court papers on pro-se litigant CG
           -   Notice from ACM about Service Failures by VYW Federal Court Record Docket 41
               filed September 17, 2018



  filed December 27, 2018

  EXHIBIT – Broomfield Case 18C103 CG Verified Complaint dated July 17, 2018 (4 pages)

           -   perjury does not check box that CG has a stalking protection order
           -   lied about phone calls
           -   denied knowledge of lawsuit opened against him
           -   admits 400 emails


  filed January 30, 2019

  Exhibit R – FULL Federal Court Register of Actions 1:18-cv-02060-RM-GPG dockets 1 to 80
              Case Remand

  Exhibit S – Federal Court ACM filed Opposed Motion for Remand Docket 62 filed 10/26/18

  Exhibit T – Federal Court ACM filed Objection to Recommendation Regarding Motion to Dismiss
              Docket 63 filed 10/28/18


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  Exhibit U – Image Corey Goode and his BLUEBIRD alien friend

  Exhibit V – YouTube channel AlphaZebra - Bill Ryan states CG plagiarized Mars Records 20
              and back story belonging to Michael and Stephanie Relfe and they say it to

  Exhibit W – David Wilcock Amazon “Awakening in the Dream” book then planned release Aug
             20, 2019

  Exhibit X – COPYRIGHTS Alyssa Montalbano (Ari Stone) “DreamWalker Dream Diary
  Adventures of Enetka Tulina” published June 17, 2017 and “Dreams the Missing Text”
  published September 27, 2018.



  filed February 4, 2019

  Exhibit Y – Photo of Plainitff

  Exhibit Z – Darling V Goode Petition for Restraining Order, Cause No. 14-04807 dated
              5/5/2014 full record filing – YouTube Transcription CG at page 5 line 8-11 Traumatic
              Brain Injury, epilepsy, complex PTSD not combat related; page 8 at lines 5-6 eye
              retinal detachment surgery



  filed February 15, 2019 (Public Harssment of people exposing Mr. Goode’s Fraud)

  Exhibit AA – Gang Stalking defined – www.UrbanDictionary.com

  Exhibit AB – CG Facebook post sample organized stalker communication - alleging sparse
               communications (no Dream Visions sent for a while from ACM to CG) – alleged
               bomb (similar to a DV of Plaintiffs) – Above Majestic film promoting -

  Exhibit AC – Harassing and Doxxing people in the public

                 - CW Chanter (Benjamin Zavodnic) being doxxed and harassed by CG
                 associates for publicly exposing CGs fraud

                 - Organa Alderaan doxxing and harassing Twitter sock account – screenshot of
                 Dark Journalist harassment by Organa Alderaan dated October 24, 2018

                 - Joy Jackson associated harasser of people in the community

  Exhibit AD - Dark Journalist, JoeFromTheCarolinas slander meme by CG and associates

  Exhibit AE - Jason Rice (alleged Secret Space Program Whistleblower) Twitter post showing
               he received Legal threat letter from Valerie Yanaros Wilde and Corey Goode




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  Exhibit AF – UniRock says CG has secret troll doxxing group and implicates Jordan Sather
               (Public Figure for alternative YouTube news reporting)

           -   Screenshot Jordan Sather doxxing Joe From the Carolinas with ThomasCrown
               Tweet dated November 6, 2018

           -   Screenshot Thomas Crown Twitter account original dox of Joe From The
               Carolinas (Joseph Paciarelli) dated November 6, 2018

  Exhibit AG – “YouTube Ex Gang Stalking Operative Explaints Tactics and Motives_mirrored”
                posted to Jikonf channel (information video)

           -   Same YT video above posted to aplanetruth.info January 13, 2019 – write up
               below sites A.I. mind control and alludes to the Department Of Defense (DOD)
               Sentient World Simulations

           -   Voice to Skull Patent US Patent 5159703 – Frequencies used to broadcast
               and piggy back onto carrier waves to broadcast to a brain directly

           -   MKULTRA and Project Artichoke



  February 19, 2019

  Exhibit AH – Public Harassment via Twitter by CG of Benjamin (C.W. Chanter) claiming he’s
               Dark Alliance – Gloria111 states he’s the same bully as always (former classmate
               of Mr. Goode’s in High School)

  Exhibit AI – Dream Vision sample dated Feb 14, 2019 ACM documents CG gang stalker post
               for ACM to see



  filed February 27, 2019

  Exhibit AJ – PLAC (again) 77pages

  Exhibit AK – CIA project Bluebird CIA-RDP83-01042R000800010003-1 (full record filed)



  filed March 25, 2019 (Defamation)

  Exhibit AL – CG associate uses ACM art on Shaman at Eclipse of Disclosure Event-
               Facebook post by Plaintiff dated March 15, 2019 (8 pages)

  Exhibit AM – Corey Goode Facebook stalker slander post July 17, 2018

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  Exhibit AN – email to VYW dated October 17, 2018 attaching Dream Visions occurred
               during the course of litigation for negotiation (4 pages)

  Exhibit AO – Reddit defamation hate slander campaign - SBAGoode slanders about
               marriage dream (3 pages)

  Exhibit AP – Chuck Raymond Facebook hate slander campaign – creepy clown and
               Corey Goode threats and defamation of Plaintiff as “Dark Alliance” and cites
               his slander of Plaintiff on Edge of Wonder channel



  filed August 2, 2019

  Exhibit AQ – Broomfield Combined Court fabrications (again) dated July 17, 2018

  Exhibit AR – Defamation CG to Kiersten Medvedich (Gaia TV contact) about ACM being a
               stalker Federal Court docket 34-5 filed 09/10/18 (2 pages)

  Exhibit AS – Defamation - CG Facebook Stalker dated July 17, 2018

  Exhibit AT – CG/VYW filed Fake Complaint Federal Court USPS from ACM to CG dated
               June 4, 2018 – Certificate of Service Notice of Default in Dishonor dated
               June 4, 2018 – plus cover letter – Notice of Default in Dishonor dated June 4, 2018
               with sticky note – Federal Court Register of Actions Dockets 1 to 42

  Exhibit AU – Defamation – Reddit slander by SBAGoode then another saying Crazy –
               screenshot March 20, 2019 post 120days old. (2 pages)

  Exhibit AV – ACM Facebook post showing CG associate using Energetic Portal Design at
               Eclipse of Disclosure August 2017 (3 pages)

  Exhibit AW – Defamation – Chuck Raymond hate campaign – creepy clown then CG
               defamation post of ACM being “Dark Alliance”

  Exhibit AX – “Dark Alliance” label = death threat revealed (2pgs)

  Exhibit AY – Defamation Twitter hate campaigns by CG and associates against ACM
               June 2019 to July 2019



  filed Sept 9, 2019

  Exhibit AZ – Defamation Twitter hate campaign by CG again bringing up marriage dream and
               calling ACM crazy – delusional




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  filed February 12, 2020 Affidavit & Tangible Dream Vision (DV) Trade Secret Evidence



  Exhibit BA – Judge Flynn’s Oath of Office taken twice Certified Copies



  Exhibit BB SAMPLE DVs – 22 Dream Vision Samples

          (1)   Changing Kings Heart with Love - dated 06.14.2016
          (2)   What to do if King still in Charge - dated 02.12.2018
          (3)   Private Jet Stalls and Falls JF Pilot – Natalie Girlfriend – dated 05.06.2019
          (4)   Court Orders Notch in Wall – dated 05.14.2019
          (5)   Ranger John & Giant Bear Man – dated 01.05.2019
          (6)   Judge Flynn Reading off Orders – lasers – dated 05.24.2019
          (7)   Contract Trickery Foiled – dated 10.09.2017
          (8)   Class Trip to Spain – dated 12.03.2013
          (9)   3 Idiots – dated 10.21.2014
         (10)   Manifesting Rainbow Spheres, Mafia Guy CIA Guy Guns – dated 07.09.2017
         (11)   Corey FB Sander Post To Emo-Razz: Seriously – dated 06.08.2018
         (12)   Email to VYW to negotiate with 8 DVs attached to negotiate to incl:
                Homerun With Broomstick Wins the Game! – dated 06.20.2018
         (13)   Valentine Document Served, I sign in Crayon – dated 07.20.2018
                (13a) Legend of the Bear Love, Interporganate – dated 06.07.2013
                (13b) Garage Hacker Kids Fail to Steal my Car – dated 12.14.2018
                (13c) Halloween Scare House – dated 06.05.2018
         (14)   Email to CG with Creepy Clown Game attached – sent 01.05.2019
                Creepy Clown Game – dated 11.22.2018
         (15)   Grumbly Bickery Guy & Purple Venom Snake – dated 03.09.2019
                (15a) email to CG asking about Facebook Creepy Clown defamation campaign –
                sent 03.22.2019 & CG Facebook Hate Campaign screenshots with creepy clown

         (16)   Spark Plan Foiled – dated 01.01.2017
         (17)   Fiberoptic Plants – 2 snakes – Shapeshifting Bear – dated 10.27.2019
                (17a) CG YouTube slander post and threatening trust funds posted 11.20.2019

         (18)   Off Energy CG Trust Funds – dated 03.18.2019
         (19)   Overcoming Prior Agenda with Love – dated 06.08.2010




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  filed February 21, 2020

  Fifth Information for the Court CIA Evidence – Senate Hearing, CIA Records, Remote Viewing,
  Remote Influencing, Dream States & Psychokinesis Research – as Compared to Defendant
  Public Claims and Plaintiff Dream Experiences Submitted for Legal Investigation Purposes



  EXHIBIT BB - DV SAMPLE 20 – DV K’s barf gets on my toes (print only)

  EXHIBIT BC – Senate Hearing MKULTRA (1977) (on Disc)

  EXHIBIT BD – DoD Psychoenergetics - CIA-RDP96-00792R000600310001-7 (on Disc)
               DoD PSYCHOENERGETICS PROGRAM: REPLICATION STUDIES (S) (1984)
               RA – Remote Action, UC Davis, PK experiments list

  EXHIBIT BE – Telepathic Behavior Modification - CIA-RDP96-00792R000600320004-3
               (on Disc) SECTION IV – TELEPATHIC BEHAVIOR MODIFICATION (1975)
                sleep-wake states used for literal ‘Consciousness Obliteration.’

  EXHIBIT BF – Patents Hendricus Loos - United States Patents (print only)

           -    US6506148B2 - Nervous System Manipulation by Electromagnetic Fields from
                Monitors (2001)

           -    US6017302A – Subliminal Acoustic Manipulation of Nervous Systems – aka V2K
                (1997) Google Patents List Hendricus Loos

  EXHIBIT BG – Neurophysiological Correlates to RV - CIA-RDP96-00789R002200320001-2
               (on Disc) NEUROLOGICAL CORRELATES TO REMOTE VIEWING (U) (1988)
               Epilepsy / Dementia/ SQUID-MEG/MRI

  EXHIBIT BH –TMS – Depression Brain Disease - TMS Therapy at Wellington Retreat
              (print only) Images Brain No Depression vs Depression, electromagnetic
               frequencies to heal brain activity

  EXHIBIT BI – AC Lucid Dreams - CIA-RDP96-00789R003100140001-2 (on Disc)
               Anomalous Cognition in Lucid Dreams (1991) 2-4Hz Theta Delta and 10Hz Alpha

  EXHIBIT BJ – Psychic Warfare - CIA-RDP96-00789R001001420001-3 (on Disc)
               PSYCHIC WARFARE: EXPLORING THE MIND FRONTIER (1988)

  EXHIBIT BK – Memorandum Psywar - LOC-HAK452-1-2-6 (on Disc) Memorandum For:
               General Haig - Subject: Psywar (September 4, 1972)

  EXHIBIT BL – PK Switch - CIA-RDP96-00788R002000230002-4 (on Disc)
              DEVELOPMENT OF A REMOTE PK SWITCH (U) - GRILL FLAME



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  EXHIBIT BM – Controlled Offensive Behavior USSR - CIA-RDP96-00792R000500730002-1
               (on Disc) CONTROLLED OFFENSIVE BEHAVIOR USSR (U) – Section III –
              TELEPATHY (ENERGETIC TRANSFER) IN MAN (September 1975)
               Psychotronic Generators; Full human control is goal

  EXHIBIT BN – CG Alleged Mega Update - Corey Goode alleged Jan 12, 2018 Mega Update
               (print only)

  EXHIBIT BO – CG SSP Interrogation - Corey Goode SBA website prints (print only) 1of2 Dream
               Communications 2of2 Psychic Wars with Corey Goode – SSP – Intruder
               Intercept Interrogation Program – MKULTRA – MiLab since age 6

  EXHIBIT BP – CG V Darling DC-14-04807 - Corey Goode v Darling International, DC-14-04807,
               (on Disc) District Court Dallas County – Health Claims & Stalking PO issued
               against CG (October 31, 2014) (print only)

  EXHIBIT BQ – CG CD S7E28 Dementia Aphasia Neurological Issues - Corey Goode Cosmic
               Disclosure S7E28 (00:10:50 – 00:12:00) (on Disc) Dementia – Aphasia - ‘SSP’
                High Electromagnetic Fields – Neurological Damage
               (Clip time stamps 0:00:50 to 0:01:45; screen captured from GAIA TV website)

  EXHIBIT BR – CG DW CDS7E4 Dreams Telepathy Remote Viewing - Corey Goode Cosmic
               Disclosure S7E4 (00:00:11 -00:04:07) (on Disc) David Wilcock dream recall
                research since 1992, and Remote Viewing 1996 telepathic communications
               (Clip time stamps 0:01:40 to 0:02:15; screen captured from GAIA TV website)

  EXHIBIT BS – CG Interrogations and IE - YouTube video titled #10: Exclusive Never Before
               Revealed info About the Moon W/ Corey Goode (1/2)”on Ninety Degree Turns
               channel, posted July 25, 2019 (00:09:49 – 00:24:33) Dark Interrogations –
               humans as food for ‘aliens’ – amoral scientists using electrical and biological tech
               (on Disc) 13:30 to 18:00 Corey Goode in ‘SSP’ since about 17 yrs old - memory
               issues – dark Interrogations – torture – loaned out CG to other government
               sectors due to him being talented Intuitive Empath – Remote View Killing with
               enhanced technologies and hit lists he had to do. 19:00 to 24:00 Slave trade
               human trafficking for sex, intelligence, and ‘alien’ food, Interrogation, amoral
               scientists using electrical and biological technology for experiments

  EXHIBIT BT – CG AI Bioneural Fields - YouTube video titled: “Corey Goode on AI and
               Ascension – SBA Presents Ninety Degree Turns” on Mr. Goode’s YT channel,
               SphereBeing Alliance, posted October 14, 2019 (00:05:22 – 00:09:32) (on Disc)
               (00:06:20 – 00:08:30) Artificial Intelligences take over bioneural fields of humans,
               animals, and entire groups of people

  EXHIBIT BU – DW Threats and Switch -YouTube video titled: “Threats, Intimidation & New Age
               MADNESS - Warped Podcast #3” posted to Warped Podcast YouTube channel,
               December 13, 2019. (00:09:51 – 00:20:06) Defendant associate, dream
               researcher David Wilcock, literal crying about death threats and afraid of

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                narcohypnosis in 2011, then in 2019 goes on Edge of Wonder YouTube Channel
                and says he has never been threatened like that. (on Disc)

  Exhibit BV – Cyrus Parsa A.I. Civil Action, US District Court for the Southern District of
               California, Case 3:2019cv02407 - misuse of A.I. neuronetworks and codes altering
               human biochemistry, human organ trafficking, and more



  filed March 19, 2020 Objection to Attorney Fees

  EXHIBIT BZ – Federal Court Docket (8pgs)

  EXHIBIT CA – Emailed VYW and ACM June 2018 to July 2018 (1pg)

  EXHIBIT CB - Liz Lorie Fake Law Firm Address December 2019 through January 2020 and CG
               email noticed, December 31, 2019 of certified USPS mailing to Ms. Lorie and
               copy of mailing sent to Ms. Lorie and USPS tracking delivery failure (14 pgs)

  EXHIBIT CC – Doxxing and Defamation – YouTube CG March 2, 2020 lawsuit threat (1pg)

  EXHIBIT CD –Audio and Video Disc of this OBJECTION filing (Disc)

  EXHIBIT CE – Case 18CV50 Timeline Key Events (3 pgs)

  EXHIBIT CF – USPS Certified Mail records of served PLAC documents (15 pgs)

  EXHIBIT CG – 3rd Malicious Broomfield Combined Court stalking Case (20C32, March 11,
               2020) email dated March 13, 2020 again failure by CG to declare his own
               Protection Order with Darling Intl(17pg)



  FILED July 20, 2020

  Exhibit CH – public article by VICE, reporter MJ Bania, about CG legal threats and CG/DW
               donation scams

  Exhibit CI – Donations Light Warrior Legal Fund

  Exhibit CJ - Donation for CG post by DW to ‘help’ CG cause he needs more money and Plaintiff
               donation of $50

  Exhibit CK – CG Associate Aaron Moriarity cyber monitoring Plaintiff January 21, 2020 FB –
               Aaron with cult follower vigilance defends CG’s stories as true and defames valid
               researcher Richard Dolan as “cabal” – CG retweets Rob Vannoy tweet about
               Aaron Moriarity being a part of CG’s team supposedly as another truth teller like
                Mr. Goode.



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  Exhibit CL – CG defames Plaintiff on Twitter as “Dark Alliance” (Aka a rapist or killer/cabal) due
               to Jan 29, 2020 dismissal orders and threatens a lawsuit against Jay Weidner and
               Gaia TV posted February 12

  Exhibit CM – CG defames Plaintiff in his tweet as a stalker and Dark Alliance and provides a link
               to his YouTube Channel Corey Goode where he again defames Plaintiff as a
              cyber-stalker posts made February 25, 2020

  Exhibit CN – CG YouTube legal threats and defamation of Plaintiff along with 12 other legitimate
               researchers in similar professions or fields of interest –false statements about
               everyone being employed by Gaia TV posted March 2, 2020

  Exhibit CO – CG defames and embarrasses Plaintiff again as ‘dark alliance’ and ‘cyberstalking’
               in tweet posts February 19, 2020 – February 28, 2020 and also declares he is
               “directly targeting” each of the people he claims are “dark alliance” or stalkers, to
               include Plaintiff

  Exhibit CP – CG court doxxing of Plaintiff through posting non-redacted documents on his
               website SphereBeingAlliance.com

  Exhibit CQ – DW/CG Pete Peterson public Go Fund Me Scam donated to by ACM

  Exhibit CR – “Dark Alliance” definition: murderers, rapists, pedophiles, cabal, Satanists, and
                death threat by CG/DW that “Dark Alliance” could lose their lives if they don’t go
                back down.

  Exhibit CS – CIA A.I. Whistleblower Robert Duncan and the Mind Hacking Strategy Group.
               S.A.T.A.N. (Silent Assassination Through Adaptive Networks) and VooDoo Doll
               A.I. program frequency tech broadcast to the brain of Targeted Individual (TI)
               anywhere in the world to cause physical pain or sexual pleasure in the target.
               Handlers for MKULTRA victims and goal to create assassins with no empathy or to
               cause TI to suicide. Mind Crimes and illegal by the Geneva Convention.

  Exhibit CT – David Wilcock exposed as a fraud dream psychic, not Edgar Cayce dream psychic
               reincarnated, and a fraud in general who steals other people’s work and uses it
               as his own.




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   District Civil Court, Mesa County, Colorado

   Mesa County, Colorado
   Court Address: 125 North Spruce
   P.O. Box 20,000-5030
   Grand Junction, CO 81502

   Plaintiff(s)/Petitioner(s): Alyssa Chrystie Montalbano
   v.
                                                                              COURT USE ONLY
   Defendant(s)/Respondent(s): James Corey Goode
   Attorney or Party Without Attorney (Name and Address):
   Alyssa Chrystie Montalbano, American Citizen                    Case Number: 18CV50
   2536 Rimrock Ave, Suite 400-117
   Grand Junction, Colorado, 81505

   Phone Number: 970.250.8365 E-mail: AriStoneArt@Ymail.com        Division   10     Courtroom 10

                          PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION


         Comes now Plaintiff, Alyssa Chrystie Montalbano, pursuant to C.R.C.P. Rule 65;

  for Injunctive Relief; and moves the court to GRANT this motion for Preliminary Injunction

  immediately against the Defendant for the following:


                                 I. DISCOVERY CONTROL PLAN

   1. Discovery should be conducted pursuant C.R.C.P. 16, and 26-37.


                   II. APPLICATION FOR PRELIMINATY INJUNCTION

   1. Plaintiff hereby incorporates all allegations set forth within the verified AMENDED &

       SUPPLEMENTAL COMPLAINT as though set fully herein.


   2. As set forth in the Amended and Supplemental Complaint, in the particular claim counts of:

       FRAUDULENT MISREPRESENTATIONS (FRAUD),TRADE SECRET MISAPPROPRIATION,

       VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT, CIVIL CONSPIRACY,

       ABUSE OF PROCESS, MALICIOUS PROSECUTIONS, DEFAMATION, HARASSMENT,

       INTENTIONAL INTRUSION ON PRIVACY RIGHTS and INTENTIONAL INFLICTION OF


  PLAINTIFF’S MOTION FOR PRELIMARY INJUNCTION                                        Page 1 of 6
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       EMOTIONAL DISTRESS, Mr. Goode’s unlawful acts or threats of unlawful acts are, and are

       continuing to cause immediate and irreparable injury and harm to Plaintiff for which there

       is not adequate remedy at law.


  3.      Plaintiff will establish a likelihood of success on the merits of the causes of action in

       this case for which such a requirement is applicable and necessary for entry of the

       Preliminary Injunction.


  4.      As set forth above, the Defendant’s unlawful acts or threats of unlawful acts are, and

       are continuing to cause immediate and irreparable injury and harm to Plaintiff, for which

       there is no adequate remedy at law.


  5.      The harm faced by Plaintiff far outweighs any harm that would be sustained by the

       Defendant if the preliminary injunction sought hereby were granted and the issuance of a

       preliminary injunction would not adversely affect the public interest.


  6. As set for in the AMENDED & SUPPLEMENTAL COMPLAINT, the Defendant has

       engaged in inappropriate and/or unlawful conduct and made express or implied threats

       against Plaintiff. Without a Preliminary Injunction, the Defendant and his network of

       associates will continue to engage in this conduct and make threats against Plaintiff, disrupt

       professional operations, destroy Plaintiff’s business and reputation, continue to (mis)use

       her Trade Secret materials, release private information of no legitimate public concern,

       and/or engage in other disruptive, unlawful, and/or threatening actions towards Plaintiff.

       Plaintiff is, therefore, without a complete remedy at law and will suffer further irreparable

       harm if the conduct and threats continue. Therefore Plaintiff requests the Injunctive Relief


  PLAINTIFF’S MOTION FOR PRELIMARY INJUNCTION                                               Page 2 of 6
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       described in greater detail in the Prayer, which is incorporated by reference as if set forth

       fully herein, to protect Plaintiff.


   7. Accordingly, Plaintiff respectfully asks this Court to enter a Preliminary Injunction from

       now until such time as there a trial on the merits, and subsequently to enter a permanent

       injunction, after a trial on the merits, requiring the Defendant to refrain from committing or

       threating to commit the conduct describe in the Prayer below.


   8. Greater injury will be inflicted upon the Plaintiff by the denial of injunctive relief than

       would be inflicted up the Defendant by granting such relief.


                                                DAMAGES

   9. As a result of the Defendant’s conduct, Plaintiff and her business have been and will be

       continue to be damaged. Plaintiff has suffered and will suffer general and special damages.


                                                    PRAYER

   10. WHEREFORE, Plaintiff requests the Defendant, James Corey Goode, be cited to appear

       and answer; and

       A. That this court issue a Preliminary Injunction enjoining the Defendant from committing

           or threatening any of the following:


        (1) Committing or threatening any act of violence, defamation, or harassment against

             Plaintiff, Ari Stone Art LLC and/or employees, officers, directors, board members,

             attorneys, executives, investors, any associates, friends, and/or family members

             (collectively, “Protected Parties”);



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      (2) Communicating in a threatening, defamatory, or harassing manner with Plaintiff or

           protected parties;


      (3) Committing or threatening any act to release private information about Plaintiff or the

           Protected Parties;


      (4) Communicating a threat through any person to Plaintiff or Protected Parties;


      (5) Threatening or harassing Plaintiff and or the Protected Parties in person, by telephone,

           email, social media and/or internet posting, or any other means of in person, written, or

           electronic communication.


      (6) Making a threat to Plaintiff or Protected Parties or engaging in harassment through the

           court systems against Plaintiff and/or Protected Parties.


      (7) Stalking, cyber stalking, gang stalking, or engaging in conduct directed specifically to

           Plaintiff and/or the Protected Parties, which is reasonably likely to harass, annoy,

           alarm, abuse, torment, or embarrass Plaintiff and/or the Protected Parties, or disrupt the

           business operations or of Ari Stone Art LLC.


      (8) Any act of defamation, harassment, libel and slander against Plaintiff and the Protected

           Partied on the internet or in any other published or broadcast forms.


      (9) Disrupting Plaintiff’s home life, workplace, or operation of Ari Stone Art LLC in a

           manner this reasonably likely to disrupt Plaintiff’s workplace and/or daily life

           operations or with intent of doing so.



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   District Civil Court, Mesa County, Colorado

   Mesa County, Colorado
   Court Address: 125 North Spruce
   P.O. Box 20,000-5030
   Grand Junction, CO 81502




   Plaintiff, Alyssa-Chrystie: Montalbano
                                                                               COURT USE ONLY
   v.
                                                                      Case Number: 18CV50
   Defendant: James Corey Goode


                                                                      Division: 10 Courtroom: 10

               PLAINTIFF’S PROPOSED ORDER FOR PRELIMINARY INJUNCTION




         This Court, after due consideration of the request by Plaintiff, Alyssa Chrystie

    Montalbano, and upon reading the AMENDED & SUPPLEMENTAL COMPLAINT, as filed

    the Plaintiff in the above captioned matter against the Defendant, James Corey Goode; hereby

    ORDERS, ADJUDGES, and DECREES this Preliminary Injunction of this Court


         Defendant, and Defendant’s agents, servants, and those persons acting in concert or

    participation with him/them who receive actual notice of this Preliminary Injunction by

    personal service or otherwise, shall be and hereby are enjoined and prohibited from the

    following:


        (1) Committing or threatening any act of violence, defamation, or harassment against

             Plaintiff, Ari Stone Art LLC and/or employees, officers, directors, board members,

             attorneys, executives, investors, any associates, friends, and/or family members

             (collectively, “Protected Parties”);


  PROPOSED ORDER                                                                         Page 1 of 3
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      (2) Communicating in a threatening, defamatory, or harassing manner with Plaintiff or

          protected parties;

      (3) Committing or threatening any act to release private information about Plaintiff or the

          Protected Parties;

      (4) Communicating a threat through any person to Plaintiff or Protected Parties;


      (5) Threatening or harassing Plaintiff and or the Protected Parties in person, by telephone,

          email, social media and/or internet posting, or any other means of in person, written, or

          electronic communication.


      (6) Making a threat to Plaintiff or Protected Parties or engaging in harassment through the

          court systems against Plaintiff and/or Protected Parties.


      (7) Stalking, cyber stalking, gang stalking, or engaging in conduct directed specifically to

          Plaintiff and/or the Protected Parties, which is reasonably likely to harass, annoy,

          alarm, abuse, torment, or embarrass Plaintiff and/or the Protected Parties, or disrupt the

          business operations or of Ari Stone Art LLC.


      (8) Any act of defamation, harassment, libel and slander against Plaintiff and the Protected

          Partied on the internet or in any other published or broadcast forms.


      (9) Disrupting Plaintiff’s home life, workplace, or operation of Ari Stone Art LLC in a

          manner this reasonably likely to disrupt Plaintiff’s workplace and/or daily life

          operations or with intent of doing so.

     (10) Discussing Plaintiff’s Trade Secret Intellectual property, Dream Visions, information,

          research, and/or Trade Secret analysis processes and data publicly or privately.

  PROPOSED ORDER                                                                          Page 2 of 3
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